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                       EXPERT REPORT
                              OF
                    SUSAN E. PACHECO, MD
              and JEROME A. PAULSON, MD, FAAP




            Kelsey Cascadia Rose Juliana; Xiuhtezcatl Tonatiuh M.,
             through his Guardian Tamara Roske-Martinez; et al.,
                                  Plaintiffs,

                                         v.

                 The United States of America; Donald Trump,
         in his official capacity as President of the United States; et al.,
                                    Defendants.

                IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF OREGON

                         (Case No.: 6:15-cv-01517-TC)




               Prepared for Plaintiffs and Attorneys for Plaintiffs:


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                   TABLE OF ACRONYMS AND ABBREVIATIONS

AAP:         American Academy of Pediatrics
ACEs:        adverse childhood experiences
ACOS:        asthma–chronic obstructive pulmonary disease overlap syndrome
CDC:         Centers for Disease Control and Prevention
CEHM:        Children’s Environmental Health Network
CHPAC:       Children’s Health Protection Advisory Committee
CO:          carbon monoxide
CO2:         carbon dioxide
COEH:        Council on Environmental Health
COPD:        chronic obstructive lung disease
DEQ:         Department of Environmental Quality
EPA:         U.S. Environmental Protection Agency
ER:          emergency room
FEV1:        forced expiratory volume
FVC:         forced vital capacity
GAO:         U.S. Government Accountability Office
GW:          George Washington University
HAB:         harmful algal bloom
HIA:         health impact assessment
IARC:        International Agency for Research on Cancer
ICU:         intensive care unit
ICD-10-CM:   International Classification of Diseases, 10th Revision, Clinical Modification
IPCC:        Intergovernmental Panel on Climate Change
MACCHE:      Mid-Atlantic Center for Children’s Health & the Environment
MRI:         magnetic resonance imaging
NCEH:        National Center for Environmental Health
NO:          nitric oxide
NO2:         nitrogen dioxide
O3:          ozone
PAHs:        polycyclic aromatic hydrocarbons
PEF:         peak expiratory flow
PEHSU:       pediatric environmental health specialty unit
PM:          particulate matter
PM2.5:       particulate matter less than 2.5 micrometers
SO2:         sulfur dioxide
TENDR:       Targeting Environmental Neurodevelopmental Risks
TRAP:        traffic-related air pollution
UGE:         unconventional natural gas extraction
UGRB:        Upper Green River Basin
USGCRP:      U.S. Global Change Research Program
VCCA:        Virginia Clinicians for Climate Action
VOC:         volatile organic compounds
WMH:         white matter hyperintensities



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                                        INTRODUCTION

We, Dr. Susan Pacheco and Dr. Jerome Paulson, have been retained by Plaintiffs in the above
captioned matter to provide expert opinion on the public health impacts on children from climate
change and air pollution. We conclude that there is abundant evidence, both in the literature and
from our clinical experience, that the health of children is already being adversely impacted as a
result of climate change and air pollution.

We, Dr. Susan Pacheco and Dr. Jerome Paulson, are co-authoring this report and, unless
otherwise specified within, we share the opinions expressed herein. The opinions expressed in
this report are our own, and not the opinions of any of the institutions for which we work or
donate our time. The opinions expressed herein are based on the data and facts available to us at
the time of writing and are to a reasonable degree of scientific certainty, unless otherwise
specifically stated. Should additional relevant or pertinent information become available, we
reserve the right to supplement the discussion and findings in this expert report in this action.

Dr. Pacheco’s CVs is contained in Exhibit A and Dr. Paulson’s CV is contained in Exhibit B to
our expert report in this action. The list of publications we have authored within the last ten years
are included in our CVs. A statement of Dr. Paulson’s previous testimony within the preceding
four years as an expert at trial or by deposition is contained in Exhibit C to our expert report. Dr.
Pacheco has not given previous testimony within the preceding four years as an expert at trial or
by deposition. In preparing this report, we have reviewed a number of documents. Our report
contains a list of citations to the documents that we have used or considered in forming our
opinions, listed in Exhibit D.

In preparing our expert report and testifying at trial, we are not receiving any compensation and
are providing our expertise pro bono to the Plaintiffs given the financial circumstances of these
young Plaintiffs. Given the magnitude of the threat that children are facing, including these
Plaintiffs, we also feel compelled to share our expertise in this important case.

                                   EXECUTIVE SUMMARY

The federal government has known about the threats posed by climate change and air pollution
for decades. In addition to the federal government’s knowledge that fossil fuels are causing
dangerous climate change impacts, like heat waves, sea level rise, and extreme weather events,
the government also knows that climate change and air pollution from fossil fuels is harming the
health of children. Children are uniquely vulnerable to the impacts of climate change due to their
physiological features, including their higher respiratory rate, lung growth and development,
immature immune system, higher metabolic demands, and immature central nervous system.
Children also spend more time playing outside than adults, which exposes them to excess heat,
polluted air, and disease carrying insects. Consistent with the literature, including reports by the
federal government, it is our expert opinion that the health of children is already being severely
impacted by climate change and air pollution. The adverse health impacts will continue to get
more severe, and impact a growing number of children, unless the use of fossil fuels is promptly
phased out. Because there is no comprehensive method or database that allows us to track health



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issues connected to climate change, we expect that climate change and air pollution are going
under-diagnosed as a factor impacting the health of children.

While all children are uniquely vulnerable to the impacts of climate change and air pollution,
certain populations of children are especially vulnerable, including those vulnerable to sea level
rise, children with preexisting medical conditions, children from communities of color, and
economically disadvantaged children. All of the Plaintiffs in this case are children, and some are
from these especially vulnerable population of children.

There are a variety of way in which climate change is harming these Plaintiffs, and other
children. Climate change is causing an increase in average temperature and heat waves, with a
resulting increase in morbidity and mortality for children. The excess heat can impact children’s
neurological development and make it harder for them to attend school and play outside.
Extreme weather events, like hurricanes, can result in the displacement of children and disrupt
their school and social support networks. They also frequently cause children to be exposed to
toxic substances in flood waters, and mold in water-damaged buildings, both of which have acute
and chronic health impacts. Meanwhile, the increasing frequency and severity of wildfires is
decreasing air quality, which is harmful to all children, and especially those with asthma and
allergies. Children are increasingly exposed to infectious disease as the range of disease-carrying
organisms expands due to climate change. Climate change is also contributing to food, water,
and nutrient insecurity and scarcity, which can, among other things, increase the risk of
malnutrition for children. Finally, the health of children is being harmed by a decrease in water
quality and an increase in algal blooms, which make children sick when exposed to contaminated
water.

In addition to being harmed by climate change impacts, children’s health is adversely impacted
by the extraction and combustion of fossil fuels, the primary driver of climate change. Air
pollutants associated with fossil fuels, including particulate matter and ozone, as associated with
higher morbidity and mortality in children. Air pollution impacts children’s neurological
development, exacerbates existing respiratory illnesses, such as asthma, and cause new
respiratory illnesses.

The health impacts on children from climate change and air pollution will be life-long, and will
also impact future generations. There is abundant evidence that children exposed to traumatic
events, often referred to as adverse childhood experiences (ACEs), experience long-term health
impacts and that ACEs can contribute to an early death. We agree. Climate change and air
pollution can also cause long-term cognitive and behavioral impacts, which diminishes
children’s ability to learn, and ultimately prosper in life. We have never before had entire
generations of children growing up in an environment so altered and degraded by climate change
and air pollution. In our expert opinion, the severity and scope of the harm to children’s health
will continue to increase in coming years unless the federal government responds to the threats
posed by climate change and air pollution. Indeed, addressing the underlying cause of the health
impacts on children, climate change and air pollution, is the only way to properly respond to this
health crisis.




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                                       QUALIFICATIONS

Qualifications of Susan E. Pacheo, MD

I obtained a bachelor’s degree in Biology at the University of Puerto Rico in Mayagüez and a
medical degree at the University of Puerto Rico Medical School in San Juan, Puerto Rico. I did
my internship in pediatrics at Louisiana State University in New Orleans. In 1989 I moved to
Houston, Texas and completed my residency training in pediatrics at Baylor College of Medicine
and subspecialty in Pediatric Allergy and Immunology (1992) at the same institution. I am board
certified in Pediatrics and have certified in Allergy and Immunology three times, the last one in
2015. I have worked in academia all my life including Baylor College of Medicine and the
University of Texas McGovern Medical School at the Houston Medical Center.

In the context of my over 20 years of practice in allergy and immunology I have taken care of a
pediatric population with asthma, allergies, and immunodeficiency and have seen up close how
air pollution, climate change, environmental exposures, and concerns about infections continue
to shape their life. My interest in air pollution and climate change led me to join the medical
advisory board of the American Lung Association Texas chapter. I implemented one of their
initiatives at the University of Texas and other pediatric practices in Houston to improve asthma
care in a group of underserved pediatric patients in these practices. I am in the process of
developing a pediatric asthma clinic at the university that will be centered around education,
including air pollution and prevention of environmental exposures to enhance asthma control.

In 2013, I received the White House Champion of Change Award for my work to raise
awareness of climate-related health impacts. I was elected to join the American Academy of
Pediatrics (AAP) Council of Environmental Health executive committee in 2014 and co-
authored the 2015 AAP’s technical report “Global Climate Change and Children’s Health.” My
climate change-related activities have been centered around education in the medical community
as this was a neglected subject in the climate conversation some years ago. I have focused my
expertise around the effects of climate change on human health including respiratory diseases. I
continue to teach on this subject at the regional, national and international level and as part of my
academic responsibilities at the university to first and second year medical students, students in
the global health concentration, pediatric residents and pediatric faculty. I have given over 75
presentations on the health effects of climate change.

Qualifications of Jerome A. Paulson, MD, FAAP

I graduated with honors and with general honors from the University of Maryland at College
Park with a Bachelor of Science degree in biochemistry. I graduated from Duke University with
an MD degree and did my house staff training in Pediatrics at the Johns Hopkins Hospitals and
Sinai Hospital, both in Baltimore, MD. I also completed a one-year fellowship in ambulatory
pediatrics at Sinai Hospital.

I was first introduced to environmental health during my residency training. Like most pediatric
residents who trained in a large city in the mid-1970s, I learned about lead poisoning because it
was a common clinical problem at the time. My first position after residency was as Assistant


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Professor of Pediatrics at Case Western Reserve University – Rainbow Babies & Children’s
Hospital. In addition to many other responsibilities, I became the hospital’s expert on childhood
lead poisoning and a consultant to the Cuyahoga County Health Department on lead poisoning.

After relocating to Washington, DC and then, in 1990, joining the faculty of the George
Washington University (GW) School of Medicine and Health Sciences, I again took on the role
of lead poisoning expert for the pediatricians who were part of the Department of Health Care
Sciences. Through self-education, attending a number of continuing education meetings and
several professional responsibilities that I will enumerate, I expanded my expertise to encompass
the new field of research, education, advocacy and clinical care that is known as “children’s
environmental health.”

At GW, in addition to my appointment as Associate Professor in the Department of Health Care
Sciences, I also was appointed an Associate Professor in the Department of Pediatrics. I also
taught in the medical school’s public health program and became a faculty member in the Milken
Institute School of Public Health when it was chartered.

When the Department of Health Care Sciences at the GW School of Medicine and Health
Sciences was dissolved, my primary academic appointment ultimately moved to the department
of Pediatrics in the School of Medicine. In 2015, I resigned from my positions and was appointed
Professor Emeritus in the Department of Pediatrics at the GW University School of Medicine
and Health Sciences and Professor Emeritus in the Department of Environmental &
Occupational Health in the GW University Milken Institute School of Public Health.

During the 1999-2000 academic year, I served as a special assistant to the director of the
National Center for Environmental Health (“NCEH”) of the Centers for Disease Control and
Prevention (“CDC”). I worked on a number of issues related to children’s environmental health
for the director. I then received a fellowship that allowed me to work with the Children’s
Environmental Health Network (“CEHN”) for two years on a broad range of children’s
environmental health issues.

In 2000, in conjunction with two colleagues, I created the Mid-Atlantic Center for Children’s
Health & the Environment (“MACCHE”). We were the third (of now 10) pediatric
environmental health specialty units (“PEHSUs”) funded in the U.S. The role of MACCHE is to
educate health professional and others in the Mid-Atlantic region about issues related to
children’s health and the environment; and the organization serves as a consultant to parents,
health care providers, government agencies and others on issues related to the environment and
children’s health. In 2015, I transitioned out of a leadership role at the MACCHE, and now serve
as their pediatric consultant.

In 2007, I was appointed by the board of directors of the American Academy of Pediatrics
(AAP) to serve on the Executive Committee of the Academy’s Council on Environmental Health
(“COEH”); and in 2011, I was elected by my peers to chair that committee. I completed my term
on the COEH in 2015. In 2007, I was also appointed by the U.S. EPA to serve on the Children’s
Health Protection Advisory Committee (“CHPAC”). I served the maximum 6 years on CHPAC.




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In 2007, the AAP became the first medical professional society to develop a policy statement on
climate change. While I was not involved in the publication of that document, I did publish,
along with Dr. Kris Ebi, Global Climate Change and It’s Impact on Children. Pediatric Clinics of
North America.2007; 54: 213-226. Several years later, Dr Ebi and I published Climate Change
and Child Health in the United States. Current Problems in Pediatric & Adolescent Health Care.
2010; 40: 2-18. During my tenure as chair of the COEH, I supervised the drafting of the new
AAP Policy Statement and Technical Report on Climate Change. These were published in 2015.
(AAP Council on Environmental Health. "Global Climate Change and Children's Health.”
Pediatrics 136.5 (2015): 992 and Ahdoot, S, and Pacheco, SE. "Global climate change and
children’s health." Pediatrics 136.5 (2015): e1468-e1484.)

In 2014, I was hired as a consultant to the AAP to serve as the Medical Director of the Pediatric
Environmental Health Unit program for the Eastern part of the U.S. I am responsible for
providing oversight of the day-to-day operations of the units in Federal Regions 1-5; and,
working with others, coordinate the management of all 10 units in the U.S.

In 2015, I created the Climate Change Initiative within the AAP, and was hired as a consultant to
the AAP as Medical Director of that Initiative. Through our work, internal AAP stakeholders
recognize that climate change is an issue for all components of the AAP, not just the COEH and
the Climate Change Initiative. We have developed educational materials for pediatricians and for
parents related to climate change.

Beyond the AAP, I have been instrumental in creating the Medical Society Consortium on
Climate and Health (https://medsocietiesforclimatehealth.org/). The Consortium brings together
20 societies representing over 500,000 members to convey the messages that climate change
causes health problems and that decreasing the use of fossil fuels and increasing energy
efficiency and the use of clean energy sources will ameliorate these problems. The Consortium
advocates at the Federal level on these issues.

In Virginia, I have worked with others to create Virginia Clinicians for Climate Action (VCCA)
(https://states.ms2ch.org/va/) which is focused on the important relationship our changing
climate has on health. VCCA advocates at the state level on these issues.

I have received various honors and awards, including, but not limited to: 2017 – Carol Strobel
Memorial Award for Children’s Environmental Health Advocacy, Children’s Environmental
Health Network; 2017 – John Rosen Memorial Lecture, Montefiore Medical Center, Albert
Einstein College of Medicine; 2014 – Elected a Fellow of the Collegium Ramazzini, an
international environmental and occupational health honorary society; 2014 – received the
National Healthy Schools Hero Award from the Healthy Schools Network, 2013 – selected for
the 11th Annual George J. Ginandes, M.D. Visiting Lectureship in Pediatrics at Mount Sinai
School of Medicine, New York, NY; 2011 – Elected to the American Pediatric Society, a
national honorary society.

Additionally, I have written extensively and lectured widely in the U.S. and overseas on a variety
of topics related to children’s environmental health. Please see my curriculum vitae for details.




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                                        EXPERT OPINION

I.     YOUTH ARE DISPROPORTIONALLY IMPACTED BY CLIMATE CHANGE
       AND RELATED ENVIRONMENTAL POLLUTION

     A. Physiological Features and Development of Children Make Them More
        Vulnerable and Susceptible to Certain Impacts

Children are not little adults – parents know this, doctors know this, and both courts and
legislatures treat them differently. Therefore, when it comes to assessing children’s vulnerability
to adverse health impacts one cannot just extrapolate from a known health response to climate
related problems, such as heat or smoke, etc., in an adult and predict the correct response in
children (Selevan et al., 2000). There are numerous reasons why children are uniquely vulnerable
to the impacts of climate change and air pollution associated with fossil fuels – most noteworthy,
their bodies are not fully developed or mature, including vital organs like their lungs and the
brain. For the purpose of this report, when we say childhood, or children, we include individuals
up to age 21 years of age. There is no firm definition of childhood or children. Administratively,
childhood is sometimes defined to end at 18 or 21 years of age. In terms of brain maturation,
however, some people would say the brain doesn’t finally mature until the frontal lobes are fully
mylenated, which doesn’t occur until about 25.

Particularly when children are young, they breathe more air per unit time than adults. Therefore,
if the air that they are breathing is polluted, they will breathe more of that pollution than an adult.
Children also consume more food per unit of body weight and likewise drink more water per unit
of body weight. Therefore, if that food or water contains an environmental contaminant, then the
child will get higher doses of that contaminant (EPA, 2008). Some of the body’s organs that
metabolize environmental toxicants, such as the kidneys and the liver, are not fully developed
and do not yet have the enzyme systems necessary for these processes (EPA, 2013).

The body will respond to stressors differently at different ages. For example, while the exposure
to excess heat may injure a child in utero or cause a miscarriage; the response would be very
different in an 8-year-old child. We are very concerned, and the literature indicates, that infants
and adolescents are at the greasiest risk from heat injury. The reason why children are at greater
risk is because their bodies don’t adjust to changes in heat as fast as adults. They don’t sweat as
much and produce more body heat than adults when they are active. Because children do not
have the decision making capacity to protect themselves, they are also more likely to not drink
enough fluids or rest enough when they are playing sports or engaged in other outdoors
activities, and therefore are more likely to become dehydrated. Infants can’t even communicate
their discomfort or distress when they are overheating. Again, this is a situation where very
young children literally cannot remove themselves from harms way. Adolescents, particularly
young athletes not only cannot recognize the signs of heat injury, they are incentivized and
pressured to continue to play, even at their own peril.

Another reason children are more vulnerable is because they spend more time outside than
adults. Ideally children should be outside in nature, playing, getting exercise, and learning.
However, if the temperatures are high or the air they breathe outside is contaminated with



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particulate matter, ozone, carbon monoxide, or other harmful air contaminants, the child’s health
will be harmed by being outdoors (Sheffield & Landrigan, 2011; Seal & Vasudevan, 2011;
National Research Council, 1993). In our expert opinion, the Plaintiffs in this case are at risk of
having decreased lung function as a result of growing up in environments with more air
pollution, as are all of their similarly situated peers, a risk that adults do not face in the same way
because their lungs are already fully developed.

The fact that children’s immune systems are still developing also increase their vulnerability,
especially when it comes to infectious diseases, a fact that the Environmental Protection Agency
has acknowledged (EPA, 2013). Children less than five years old, both in industrialized and
developing countries, absorb the majority, an estimated 88%, of the existing global burden of
disease attributable to climate change (Zhang et al., 2007). Children in the world’s poorest
regions, where the disease burden is already disproportionately high, are most affected by
climate change (Haines et al., 2006).

Moreover, and of particular importance in dangerous situations such as hurricanes, flooding, or
wildfires, when important decisions, like whether or not to evacuate or where to seek safe
shelter, need to be made, children are dependent on adults for their safety. Children do not have
the maturity or the information on which to make decisions as to what to do in these situations.
For the Plaintiffs involved in this suit, and for all children, they need the government, to protect
the environment so that dangerous situations do not occur, are less severe or less frequent. The
government has failed the children in this fashion, and indeed, by ignoring or acting contrary to
the knowledge it has had, the government has acted to make the dangers posed by climate
change even more extreme.

Children’s inability to make decisions related to their own safety and other matters, is a
reflection of brain maturation. Put simply, the brains of young children and adolescents are
different from adults. In particular, the changes in brain development from in-utero through
adolescence mark children as distinctly different from adults. “Indeed, much of the potential and
many of the vulnerabilities of the brain might, in part, depend on the first two decades of life”
(Toga et al., 2006). As a result of non-invasive techniques, such as functional magnetic
resonance imaging (MRI) we can actually see the very fibers of the brain and better understand
the anatomical differences in adolescent brains. Brain imaging technology has shown that
regions of the adolescent brain are not mature until after age 18.

The brain of the newborn is one-quarter to one-third of its adult volume and consists of an
estimated 100 billion neurons and supporting glial cells at birth. As the brain matures, the
neurons become wrapped in a myelin sheath that increases the velocity of message transmission
between neurons. Myelination of the regions of the brain responsible for higher cognitive
functions is an ongoing process during child development and continues well into adolescence
(Sowell et al., 2004). Synapses are the place where neurons connect for the transmission of
messages from one neuron to the other. In general, the number of synapses increases as the brain
develops. “The first areas [of the brain] to mature were those with the most basic functions, such
as those processing the senses and movement. Areas involved in spatial orientation and language
(parietal lobes) followed, around the age of puberty (11–13 years). Areas with more advanced
functions – integrating information from the senses, reasoning and other ‘executive’ functions



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(e.g. prefrontal cortex) – matured last, in late adolescence.” (Toga et al., 2006). Over time, in
repeated MRI scans on children developing in a typical fashion, changes in the thickness of the
cerebral cortex correlated with changes in cognition as the child ages (Toga et al., 2006).
Adolescents’ cognitive differences become especially pronounced when emotions such as stress
are present.

Exposure to air pollution affects neuron development, myelination and synapse integrity, halting
the development of a healthy brain in children. It is thought that air pollutants in exposed
children reach the brain via a disrupted nasal epithelium or the blood brain barrier. The ensuing
immune activation generates a systemic and neuroinflammatory response that promotes brain
tissue injury, demyelination and decreased synaptic activity. These injured areas, composed of
demyelinated neurons with reduced blood flow, appear as white matter hyperintensities (WMH)
on MRI studies. Among affected brain areas are the prefrontal and frontal cortex, vital for
normal cognition. White matter hyperintensities are found in the brains of children living in areas
of high air pollution and are associated to cognitive deficits (Brockmeyer, 2016).

To summarize, some of the key differences between children and adults are:
   1. Children have larger body surface area compared to adults. This increases the risk of
      fluid and heat loss.
   2. Children have a higher respiratory rate with higher minute ventilation and entry of
      polluted air to the lungs.
   3. Lung growth and development continues through childhood so the respiratory system of
      children may be more susceptible to environmental-related injuries and may be altered by
      environmental exposures.
   4. Children’s immune system is immature before age 2 years.
   5. Children have higher metabolic demands. They require more calories and water per unit
      of body weight.
   6. The central nervous system of children is not mature. Neurodevelopment continues
      through the second decade with continued changed in myelinization, synaptogenesis, etc.
      This means children are more susceptible to damage by neurotoxicants.

     B. Many Health Issues Children Experience are Directly or Indirectly Related to
        Climate Change But Climate Change Goes Under-diagnosed as a Factor.

None of the medical issues currently related to climate change are being tracked by standard
medical or pharmaceutical administrative databases. Unless something is changed in the way the
data is coded and aggregated by the data systems, this will remain true for the foreseeable future.
Therefore, we currently have no mechanism to accurately track the scope of medical problems
that are linked to climate change. However, as discussed more below, there is abundant evidence
that climate change is exacerbating health challenges for children, even if doctors aren’t always
making the direct connection to climate change. The lack of tracking means that the health
impacts of climate change are likely being underestimated. The following are hypothetical, but
realistic, scenarios, showing how the limitations of the coding systems means that information
about the influence of climate on health is being, and will be, missed.




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The International Classification of Diseases, 10th Revision, Clinical Modification, often
abbreviated as ICD-10-CM is the system most commonly used in the U.S. to classify and code
all diagnoses recorded in conjunction with all medical care in the United States. ICD-10-PCS is
the system used to code procedures performed in in-patient settings. CPT codes are used by
providers to report procedures and professional services in ambulatory settings.

For example, Jamisha is an 8-year-old from Cleveland who went on a camping trip in the woods
with her Girl Scout troop. About 10 days later, she develops a halo-rash on her back. She sees
her doctor who makes a diagnosis of Lyme Disease. The IDC-10-CM code for Lyme Disease is
A69.20. There is no way to provide any additional coding to indicate that this is a diagnosis
made in Ohio; and Ohio, absent climate change, is outside of the original range of the deer tick
which bit Jamisha and transmitted the parasite that caused the Lyme disease.

Alex is a 10-year-old with known asthma. His father calls in a refill for his albuterol inhaler, a
rescue as opposed to a maintenance medication. There is no way for the pharmaceutical database
to code for that fact that Alex lives 50 miles down wind from a wildfire; and the air pollution
from the wildfire is causing an exacerbation of his asthma.

Ms C is a 36-year old-woman who is pregnant with her 3rd child. Each of the prior pregnancies
has been uncomplicated and the babes born at term. She is in her 36th week of pregnancy; and the
ambient temperature has been 102 degrees F for the entire week. Nighttime lows are about 96
degrees. The family is low income and has a fan, but no air conditioner. The mother goes into
labor and delivers a child. This child is considered premature. The baby’s ICD-10-CM code
would be p07.39. There are additional digits that can be added to indicate prematurity with or
without major problems. The mother’s diagnostic code would be ICD-10-CM diagnosis code
o60.10x0. There are various other codes that could be used; but the point is that there are no
codes or modifiers to indicate that this mother may have delivered a premature infant because of
high ambient temperatures due to climate change in a setting where she has no access to air
conditioning.

There are a number of other hypothetical cases that could be constructed around other diagnoses:
   1. Gastroenteritis in children is more common when it rains a lot.
   2. Gastroenteritis in children is more common when the ambient temperature goes up.
   3. Asthma attacks are more common in warm weather.
   4. Asthma attacks are more common when ambient ozone levels are higher (which may
       explain some, but not all, of 3).
   5. The allergy season lasts longer in certain parts of the U.S.
   6. Severe weather events result in more physical injury in children.
   7. Infant, as well and teen-aged athletes (particularly football players), are more likely to
       have heat-related illness or injury the higher the temperature.
   8. There are more children with mental health problems after severe weather events.

All of this information taken together indicates that the impact of climate change is occurring
now and there is no way to systematically track the full magnitude of the impact. Unless the
systems change, this problem will continue on into the future.




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The Plaintiffs in this case have experienced some of the health issues enumerated above. The
children of America have experienced all of the problems enumerated above. The federal
government has been remiss in allowing the continued use of fossil fuels that have contributed to
the greenhouse effect that is harming the planet and leading to excess health problems for
children in the formative stages of their physical and emotional development.

     C. Certain Categories of Children Are Especially Vulnerable to Climate Change
        Impacts and Air Pollution

The federal government has found that communities of color, immigrants, indigenous peoples,
those living in coastal areas, those with preexisting or chronic medical conditions, and the
economically disadvantaged are disproportionally vulnerable to public health threats due to
climate change (Crimins A.J., et al., 2016; EPA Endangerment, 2009). Among other hurdles,
these populations tend to have reduced access to resources to help deal with the impacts of
climate change, such as air conditioning, health care, adequate shelter, and the financial means to
relocate either permanently or temporarily should that become necessary. The children in these
population groups face added vulnerabilities for the reasons explained above.

Children who live in coastal areas are on the frontlines of climate change due to sea level rise
and flooding and are especially vulnerable. Sea level rise is a real problem today for many places
in the U.S.; and will become a more severe problem going forward. Already, in Virginia, we
have experienced an increase in nuisance flooding. Norfolk, VA has seen a 325% increase in
nuisance flooding for the time frame of 2007-2013 compared to 1957-1963 (US Climate
Resilience Toolkit). Today, Virginia has 164,000 people at risk of coastal flooding. By 2050, an
additional 137,000 people are projected to be at risk due to sea level rise in Virginia (Climate
Central). Norfolk Public Schools have collaborated with many other constituencies to create the
“[Norfolk] Coastal Resilience Strategy (Norfolk Coastal Resilience Strategy). Children living in
the low-lying coastal areas along the Gulf of Mexico, or just barely above sea level along
Florida’s coast, and other sea level rise prone areas in the U.S. already are, and will continue to
experience a significant burden on their health from rising seas and higher storm surges. This
flooding, whether associated with severe weather events or nuisance flooding associated with
low-lying land and the vagaries of the tides, can be an Adverse Childhood event for the Plaintiffs
and similarly situated children in the U.S. The need to leave a home, to have a school shutdown,
to lose accessibility to a playing field or other recreational activities has a profound adverse
impact on children. It affects their mental health leading to depression, anxiety and post-
traumatic stress disorder. Moreover, it puts these children at risk for long-term health problems,
myocardial infarction diabetes, etc. in adulthood (Balaban, 2006).

Several of the Plaintiffs in this case live in areas making them especially vulnerable to sea level
rise. For example, Levi D.’s home is about a mile from the Atlantic Ocean and is just about at
sea level (Declaration of Levi D. at ¶¶ 1, 2). Without immediate actions to reduce greenhouse gas
emissions, scientists expect the ocean to be at his doorstep in the coming decades (Declaration of
Levi D. at ¶ 3). Miko V.’s fear that she will not be able to travel back to her home of origin in the
Marshall Islands because they will be submerged by sea level rise is an appropriate response of
an adolescent child who understands the ramifications of climate change (First Amended
Complaint at ¶ 57). There are a number of reports, both in the scientific literature and the popular



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literature about the inundation of the Marshall Islands, the Seychelles Islands, low lying parts of
Bangladesh and elsewhere (Webb & Kench 2010). The dynamic response of reef islands to sea-
level rise: evidence from multi-decadal analysis of island change in the Central Pacific
(Davenport, 2015). These impacts of sea level rise on children’s lives, while they are still
developing, are psychologically significant and adverse.

It is also widely recognized that some populations, including poor populations and minority
populations are also more likely to be located close to sources of environmental pollution, and
accordingly, children from those communities are more vulnerable. It is not uncommon for these
communities to be located next to petroleum plants, waste dumps or incinerators, high-traffic
areas, hazardous waste sites and other sources of pollution (Rubin et al., 2013). Children, and
their families, living in these types of situations experience psycho-social stress that may account
for the decreased health status of the individuals in these communities (Gee & Payne-Sturges,
2004).

It is our expert opinion that the exigencies of climate change only add to the stress on the
children in these low-income communities or communities of color or communities already
exposed to multiple environmental health hazards and air pollutants. This is true for some of the
Plaintiffs in this case and any similarly situated children in the U.S.

II.    SPECIFIC WAYS YOUTH ARE IMPACTED BY CLIMATE CHANGE

As described in more detail below, climate change is currently affecting child health through
increased heat stress, decreased air quality, altered disease patterns of some climate-sensitive
infections, physical and mental health effects of extreme weather events, and food insecurity in
vulnerable regions (see Figure 1). At present, the global health burden attributable to climate
change is poorly quantified compared with other health stressors (IPCC, 2014). As we describe
above, in our expert opinion, the lack of reporting for climate related health issues and diagnoses
likely leads to an underestimate of the true impact of climate change on children’s health.

      A. Increased Heat Stress and Other Temperature Effects

In a business as usual scenario the frequency of hot days and heat waves will continue to
increase. The federal government has stated that “increasing concentrations of greenhouse gases
lead to an increase on both average and extreme temperatures” (Crimins et al., 2016). The
devastating effect of heat waves is exemplified by the July 1995 Chicago heat wave that resulted
in over 650 deaths in a period of 5 days (CDC, Extreme Heat). An even more sobering example
is the 2003 Europe heat wave, which caused over 70,000 additional deaths (Robine et al., 2008).
It is expected that climate change-related heat waves will overtake natural variability as the
primary cause of heat waves in the western United States by the late 2020s and by the mid-2030s
in the Great Lakes region. The same changes are expected in the northern and southern Plains in
the 2050s and 2070s, respectively (Lopez et al., 2018).




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Figure 1: Potential effects of global climate change on child health. Adapted from American
Academy of Pediatrics policy statement “Global Climate Change and Children’s Health” (Shea,
2007).

Extreme heat is one of the leading causes of environmental deaths in the U.S. According to the
EPA, over the past three decades, nearly 8,000 Americans were reported to have died as a direct
result of heat-related illnesses (EPA, 2014). As the temperature continues to rise due to
unmitigated climate change, the morbidity and mortality associated with heat waves are expected
to increase. This problem is compounded by the heat island effect resulting in daytime
temperatures 0.9°–7.2°F (0.5°–4.0°C) higher and nighttime temperatures 1.8°– 4.5°F (1.0°–
2.5°C) higher in urban areas compared to rural areas (Wuebbles et al., 2017). These temperature
variations are alarming considering that in 2010 over 80.7% of the U.S. population lives in urban
areas (U.S. Census Bureau)

Children have a higher risk of dying, and are among those most vulnerable to health problems,
from excess heat. Public health studies have concluded that children under 15 are more likely to
die from excess heat than adults, and children under five are particularly at risk (Zivin &
Shrader, 2016). Research has found that for every increase in temperature of 1°C (1.8°F) above a
temperature threshold of between 27°C (80.6°F) to 29°C (84.2°F) adults experience a 2-3
percent increase in mortality. The mortality rate for children is between 50-100 percent higher
(Zivin & Shrader, 2016). The federal government has found, with a “very high confidence,” that
children face a higher risk of getting sick or dying from extreme heat (Crimins et al., 2016).




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The vulnerability of children to extreme heat is multifactorial and results from their different
physiologic, metabolic, behavioral characteristics and dependence in others to take care of them,
as well as the fact that they tend to spend more time outside than adults (Xu et al., 2014b). Obese
children, children with chronic diseases such as kidney disease, metabolic and respiratory
diseases and neurologic conditions are more susceptible to heat-related illness. Although older
adults comprise the most numerically affected group during heat waves, neonates, children less
than one year of age or in the 0-4 age group are more vulnerable to heat-related morbidity and
mortality (Basagaña et al., 2011; Basu et al., 2008; Xu et al., 2012; Xu et al. 2014a; Xu et al.
2014b). High heat has been linked to sudden infant death syndrome and evidence from heat
waves shows that the leading causes of deaths for infants are cardiovascular illness, blood
disorders, and failures of the digestive system (Zivin & Shrader, 2016). When one compares the
heat-related vs. cold-related death rate for infants, higher rates of heat vs. cold-related mortality
are observed, with a death rate of 4.2 vs. 1.0 deaths per million respectively (Berko, 2014). In the
2006 California heat wave ER visits in 58 counties in California in July and August were
increased for all ages, but the effects were more significant in the 0-4 years age group (Knowlton
et al., 2009).

Heat illness during outdoor sports is a leading cause of death and disability, with an average
national estimate of 9,237 illnesses annually. A high risk group for heat-related exhaustion and
stroke is high school athletes (CDC, 2010). According to the 2010 report by the American
Football Coaches Association, from 1960 through 2009 there were 123 fatal heat stroke cases
(Mueller & Colgate, 2010). In addition to the inevitable exposure to high heat, their
competitiveness and group pressure makes them ignore early signs of heat-related illness making
them more vulnerable to heat-related morbidity and mortality. Another high risk group for heat
related illness is the hundreds of thousands of child farm laborers in the U.S., who are often
exposed to scorching heat without adequate acclimatization or preventive measures to avoid
heat-related illness.

The damage inflicted by the increase in environmental temperature resulting from climate
change goes beyond the associated morbidity and mortality described in the previous
section. Increasing temperatures will affect the physical, emotional, and cognitive
development of children. Unfortunately, healthy child activities such as playing outdoors
will continue to be replaced by safer but not necessarily better options. The substitution
of outdoor play activities by indoor play spaces or use of entertaining electronic devices
is not an unusual scenario in the U.S. The ensuing sedentary life affects children in
different ways. For obese children, the lack of participation in outdoor activities
contributes to the complex dynamics leading to obesity. I (Dr. Pacheco) have patients
with chronic conditions that wear cooling vests, similar to those used by outdoor workers,
to be able to participate in outdoor activities such as going to the zoo on a hot day. In our
expert opinion, this is not a healthy lifestyle for a child and certainly not a common
practice for children fifty years ago; instead it is in direct response to increasing extreme
temperature conditions. As pediatricians we don’t have a good reply for Jaime, one of the
Plaintiffs, when she says “I have been negatively affected by the increasing temperatures,
which limits the time I’m able to safely spend time outdoors” (Declaration of Jaime B. at
¶ 7). We cannot advise her to play indoors, get used to it, or wear a cooling vest. Worst of
all, with the current projections for temperature increase in the U.S., we cannot tell her



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that it will get better in the foreseeable future and that her physical and mental health will
not be affected.

Children’s learning is also affected by hot temperatures and heat waves. It is not hard to
imagine how difficult it is to work in a classroom without air conditioning during a very
hot day. Classroom temperature and ventilation is known to affect school performance
(Wargoki & Wyon, 2007. During the September 2017 heat wave, the Elementary
Teachers Federation of Ontario expressed their concern about how working in classrooms
without air conditioning systems was insupportable and affected children’s learning
(Loriggio, 2017). There is also evidence linking heat waves and above average
temperatures to an increase in violence and abuse as well as depression (Rinderu et al.,
2018; Majeed & Lee, 2017).

In our expert opinion, extreme temperatures and other heat-related impacts especially
harm children in different ways from adults due to the unique physiology and lifestyle of
children.

     B. Extreme Weather Events

        i. Hurricanes, Heavy Precipitation Events, and Flooding

As a result of climate change, the frequency and severity of extreme weather events, such as
hurricanes and floods, are predicted to continue to increase (Crimins et al., 2016). The federal
government has stated with a “high confidence” that children living in coastal areas will be
especially vulnerable due to flooding from an increase in extreme precipitation, hurricane
intensity, as well as sea level rise and the related increase in storm surge (Crimins et al., 2016).
Children are especially vulnerable because they rely on others for their safety and well-being,
and their caregivers can often be unprepared or overwhelmed. Floodwaters are often contained
with toxic chemicals, raw sewage, and other pollutants that make children ill. Adverse health
impacts can include infectious, respiratory, and skin diseases, and increased risk of
gastrointestinal illness due to exposure to pathogens like Cryptosporidium and Giardia (EPA,
2009). While for adults, the impacts of gastrointestinal diseases are often mild, for children, the
impacts can be much more severe, and even fatal (EPA, 2008). Hurricanes and other extreme
weather events are also linked to an increased risk of death and other injuries.

In the aftermath of extreme weather events, there are often persistent health impacts associated
with malnutrition from disruptions in food supply, diarrheal illness from contaminated water, and
limited or no access to medical care. Such disasters can also result in significant psychological
harms for children who experience the loss of their home, possession, or pets; witness other
people experience such losses; suffer grief and stress from the loss of loved ones or from seeing
their parents undergo stress; and have their social support networks – such as school, friends,
family, or church – destroyed, either temporarily or permanently (Kousky, 2016). Children who
are exposed to such traumatic events, often experience long-lasting impacts, especially if in the
aftermath there is reduced attention and investment in the child’s health and education or if the
disaster occurs at a critical point in the child’s development. The impacts can be life-long, and
even impact the next generation.



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To make matters even worse, water-damaged homes are also often impacted by mold and
mycotoxins which can cause respiratory problems for people when they move back into their
water-damaged homes (Hope, 2013). Exposure to mold and mold components has been known
to trigger inflammation, asthma, autoimmune disorders, and immune suppression, among other
adverse health impacts.

Puerto Rico’s experience with Hurricane Maria is just a window to the world that our generation
is leaving for Plaintiffs like Levi, Jayden, Victoria, as well as other children living in the paths of
extreme weather events like hurricanes. In a business as usual scenario and with unmitigated
climate change, extreme weather events such as Hurricane Maria will occur with increased
frequency.

When Hurricane Maria made landfall in Puerto Rico in September, 2017, no one could imagine
the devastation the hurricane would cause. Maria struck Puerto Rico as a category 4 hurricane,
with wind gusts above 175 mph. The day after the hurricane 3.4 million Puerto Ricans, including
~ 700,000 children, woke up to a destroyed island without access to power, clean water, gasoline
or fresh food. A month after the disaster there were still 3 million Puerto Ricans without
electricity and one million without access to clean water. As of March of 2018, 10% of
electricity customers were still without power. The number of total deaths above average in
September, October, and November was 1,230.

From September to late December 2017, nearly 300,000 Puerto Ricans emigrated to the
mainland; most of them (270,000) to Central Florida. Most of the people leaving the Island are
families with children which has caused schools closures in many towns. Approximately 467
schools are expected to close by 2022 as a result of Maria. Florida school districts have enrolled
more than 11,200 displaced students from Puerto Rico and the Virgin Islands. According to Save
the Children “Half a year since Hurricane Maria struck Puerto Rico, school-age children have
collectively missed out on more than 13 million full days of learning. Many schools are only
operating on a limited daily schedule, from 7:30 a.m. to 12:30 p.m., due to electricity, water and
sewage problems.” (Save the Children, 2018).

The potential negative effect that the departure to the mainland imposes to their cultural heritage
is a source of anguish for many Puerto Ricans who want their children to value their roots.
There is a sense of pride about living in an island with a strong sense of identity and resilience,
historical monuments, unique fauna and lush vegetation. Without immediate actions by the
federal government to address climate change, in our expert opinion, the number of children
experiencing significant health impacts from extreme weather events will continue to grow.

       ii. Wildfires

As a result of climate change, the wildfire season is becoming longer and wildfires are more
widespread, severe, and destructive. The effect of wildfires on children is expected to worsen as
wildfires in some areas of the U.S. are expected to increase with unmitigated climate change
(Abatzoglou & Williams, 2016). Of the many compounds present in the smoke of wildfires PM,
CO, and O3 seem to be most damaging to children’s health. Children, and especially children



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with asthma, are among those most at risk from exposure to PM. The EPA has found that PM
from wildfire “can contribute to acute and chronic illnesses of the respiratory system, particularly
in children, including pneumonia, upper respiratory diseases, asthma and chronic obstructive
pulmonary disease” (EPA, 2009). Many of the compounds in wildfire smoke are strong irritants
of the respiratory tract triggering asthma exacerbations and affecting other respiratory conditions.
In the 2003 southern California wildfire, exposed children had mainly complaints relating to the
eyes, and upper and lower respiratory tracts (Künzli et al., 2006). During the same wildfire
season Delfino et al., found an association between PM2.5 exposure and increased asthma
hospital admissions for the elderly and children age 0-4. Post-fire hospital admissions for
pneumonia, bronchitis and bronchiolitis also increased. Although hospital admissions for 5-18-
year-old children also increased, these were not specifically associated to PM2.5 (Delfino et al.,
2009). The Plaintiffs in this case are already having their health impacted by wildfires. As Sahara
V. noted in her declaration, “I have asthma, and the increased frequency of forest fires in
Oregon, due to hotter and drier conditions, has triggered asthma attacks for me. The smoke
inhibits my ability to breathe, causes my throat to close up and causes me to use my inhaler
often” (Declaration of Sahara at ¶ 4). During the 2017 summer, Jacob Lebel was forced to work
on his family farm in thick smoke that prompted air quality alerts by the Oregon DEQ
(Declaration of Jacob Lebel at ¶ 9). For both Jacob, Sahara, and other Plaintiffs exposed to
smoke from wildfire, we would expect, consistent with the literature, that their increased
exposure to smoke with more common and more severe wildfires to exacerbate existing health
issues, such as asthma, and may cause new acute and chronic respiratory illnesses.

     C. Decreased Air Quality Leading to Asthma and Allergies

There is evidence that climate change is affecting the distribution, allergenicity, seasonality and
pollen production in different parts of the country as well as globally. The federal government
has found with “high confidence” that “[c]hanges in climate, specifically rising temperatures,
altered precipitation patterns, and increasing concentrations of atmospheric carbon dioxide, are
expected to contribute to increases in the levels of some airborne allergens and associate
increases in asthma episodes and other allergic illnesses” (Crimins et al., 2016). Climate change
is leading to warmer spring temperatures, which means plants start producing pollen earlier,
warmer fall temperatures, which extend the growing season for plants like ragweed, and
increased pollen production per plant due to increased CO2 (EPA, 2014; Crimins et al., 2016).
This in turn can lead to increased allergen sensitization in susceptible individuals. Longer pollen
seasons have been described for weeds such as ragweed (Ziska et al., 2011), and earlier
flowering seasons have been reported for other pollens such as grass, birch, weeds (i.e.,
mugwort) and the olive tree (Bielory et al., 2012). Although the total pollen protein
concentration remains stable, the ragweed allergen Amb a 1 concentrations increase with
increasing CO2 levels (Singer et al., 2005). The longer flowering seasons can translate to
increased allergen sensitization, increased morbidity for allergic individuals, and an increase in
asthma or asthma exacerbation in susceptible individuals. Elevated pollen counts have been
associated with increased emergency room visits in children and adolescents with asthma
(Darrow et al., 2012, Erbas et al., 2018).

The combination of exposure to allergens and different air pollutants can increase allergic
sensitization, allergic symptoms, and asthma in children and adolescents (Riedl, 2008). For



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example, the incidence of asthma increases by exposure to allergens and other pollutants, such as
diesel exhaust products (Gilmour et al., 2006). Taken together there is a complex interplay
between the individuals’ characteristics, atopic disease, aeroallergen and air pollutants exposure
and time of exposure that may facilitate and potentiate the development of asthma in susceptible
individuals. According to a report by the federal government, there are roughly 6.8 million
children in the U.S. impacted by asthma “making it a major chronic disease of childhood”
(Crimins et al., 2016). Minorities and economically disadvantaged children are disproportionally
impacted. Again, according to a federal government report, “[i]n 2007-2010, the percentages of
Black non-Hispanic children and children of ‘All Other Races’ reported to currently have
asthma, 16.0% and 12.4% respectively, were greater than for White non-Hispanic children
(8.2%), Hispanic children (7.9%), and Asian non-Hispanic children (6.8%)” (Crimins et al.,
2016). Several of the Plaintiffs in this case have asthma and allergies, including Jaime B., Sahara
V., Levi D., and Nathan B. (First Amended Complaint at ¶¶ 46, 67, 75, 85). We would expect
that the number of children with asthma and allergies will increase, and those who already have
asthma or allergies, will experience more severe health impacts as a result of climate change.

     D. Infectious Disease Patterns Changing

Climate change is expanding and shifting the range and habitat of disease-carrying organisms,
such as mosquitos, ticks, and rodents, and as a result, exposing more people to diseases such as
Lyme disease, West Nile virus, and Dengue fever (EPA, 2013). Because children tend to spend
more time outside and don’t have fully developed immune systems, they are more vulnerable
and more likely to contact disease-carrying organisms (EPA, 2013). The EPA has reported that
“[t]he incidence of Lyme disease in the United States has approximately doubled since 1991,
from 3.74 reported cases per 100,000 people to 7.01 reported cases per 100,000 people in 2012”
(EPA, 2014). In our expert opinion, an increasing number of children will experience adverse
health impacts as infectious disease patterns continue to change.

     E. Food, Water, and Nutrient Insecurity, Scarcity, and Toxicity

Climate change, resulting from increasing CO2 levels, is changing the way plants grow and will
lead to food insecurity on a global scale and, in the long-run this will put American children at
risk. By taking active steps to decrease CO2 levels now, we can decrease the severity of this
problem in the future.

On the one hand CO2 can increase the growth of plants. However increasing atmospheric CO2
leads to lower protein content of the edible portions of wheat, rice and barley (Taub et al., 2008).
Similarly, wheat, rice, soybeans, and field peas grown at higher CO2 levels have been shown to
have lower concentrations of zinc and iron (Myers et al., 2014). These changes in the nutrition
value of basic food stuffs for billions of people across the globe pose grave risk for infant
malnutrition with death in some and stunting in many others (Högy & Fangmeier, 2008; Högy et
al., 2009).

There are a number of other factors related to climate change that will impact agriculture and the
availability and quality of food to feed the world’s children. Extreme heat decreases the growth
of plants. Water is likely to be less available for irrigation and animals as it will be needed for



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human use. This will decrease plant and livestock production. Severe weather events, including
drought and flooding, not only impact human health directly as noted elsewhere in this report,
they also limit the growth of crops or can destroy them in the field and orchard. Sea level rise can
inundate and destroy farmland directly or, through salinification of groundwater, making it
impossible to grow crops. Unless, and until, the nation reduces CO2 pollution and other
anthropogenic greenhouse gases, there is a real increasing risk of malnutrition and death in
children (Cohen et al., 2008; Lake et al., 2012; Miraglia et al., 2009; Hatfield et al., 2011; Battisti
& Naylor, 2009; Asseng et al., 2011)

Changes in marine ecosystems, such as, warming of the ocean’s upper layers, ocean
acidification, and declining oxygen concentrations in the oceans, are leading to the risk of
decreased seafood availability and safety. Because so many population groups around the world
depend on seafood for their source of protein, changes here only increase the risk of malnutrition
leading to death or stunting.

Several of the Plaintiffs have expressed concerns about the changes in the oceans affecting their
ability to adequately maintain seafood in their diet: Miko V., Kiran Oommenn, Zealand B., Aij
P., Hazel V., and Avery M. In our expert opinion their concerns are well-founded. There is
strong scientific evidence that the oceans are changing as a result of climate change; and those
changes are putting the availability and safety of seafood at risk.

According to the EPA, “considering the trend over near- and long-term future conditions, the
Administrator finds that the body of evidence points towards increasing risk of net adverse
impacts on U.S. food production and agriculture, with the potential for significant disruptions
and crop failure in the future.” (EPA Endangerment, 2009). We agree and in our expert opinion,
children will be adversely impacted by food, water, and nutrient insecurity, scarcity, and toxicity.

     F. Decreased Water Quality and Algal Blooms

Algae are a normal component of aquatic ecosystems. These are plant-like organisms that are
multi-celled or single-celled and photosynthetic. Harmful algal blooms (HABs) occur when
colonies of algae along seacoasts or in fresh water bodies proliferate, and produce toxic effects
on people, pets, aquatic species, and birds. While the causes of HABs are complex, growing
evidence suggests that climate change contributes to these events – algae blooms are more likely
to occur in warmer waters, and waters are warming due to climate change (Gobler et al., 2017;
O’Neil et al., 2012; Havens & Paerl 2015). The toxic effects of HABs can occur when the algae
are consumed or, sometimes, just from skin contact. The symptoms of contact with HABs range
from diarrhea to respiratory illness to neurotoxicity, and may even be fatal (Otten & Paerl 2015;
Berdalet et al., 2015). Children are at specific risk from HABs because they are different from
adults (Weirich & Miller, 2014). They have a smaller body size. Therefore, ingestion of fish or
shellfish or drinking water contaminated by HABs delivers a greater dose of the toxin to the
child than an adult. Children less able to make decisions to protect themselves from harm and
may play in or drink contaminated water when an adult would not do so. Specific Plaintiffs have
already been affected by algae blooms and other water quality issues linked to climate change.
For example, unprecedented algae blooms have closed and delayed the opening of the
Dungeness crabbing season in Oregon and lead to restriction on mussel harvesting, which has



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limited the ability for Jacob to consume shellfish, an important part of his food supply, as well as
recreational activities (Declaration of Jacob Lebel at ¶¶ 18, 20). Journey Z. can no longer swim
in the Hanalei River in Hawaii because of dangerous bacteria levels that made him sick last time
he swam there (Declaration of Journey Z. at ¶ 16). Levi D. can no longer swim in the Indian
River Lagoon due to flesh-eating bacteria and his ability to swim in the Atlantic Ocean has been
limited for the same reason (First Amended Complaint at ¶ 83).

In our expert opinion, children are disproportionately impacted by decreased water quality and
algae blooms as a result of climate change.

III.    CHILDREN ARE ADVERSELY IMPACTED BY AIR POLLUTION FROM
        FOSSIL FUELS

In addition to children being harmed by climate change in ways that are different from how
adults are harmed, children are also harmed by the air pollution issues from the extraction and
burning of fossil fuels, which lead to climate change. Thus, the fossil fuel energy system of the
nation has collateral adverse impacts on the health of children, in addition to climate change and
sometimes those harms are synergistic, like in the case of children’s respiratory health and
ozone.

The extraction and burning of fossil fuels, the primary driver of climate change, accounts for
most of the airborne particulate pollution, which has a detrimental effect on air quality. Burning
fossil fuels releases many chemicals and particulates to the air. These include fine particulate
matter, black carbon, polycyclic aromatic hydrocarbons (PAHs), mercury, lead, oxides of
nitrogen, sulfur dioxide, and carbon monoxide. In October of 2013, the International Agency for
Research on Cancer (IARC) classified air pollution as a human carcinogen. Out of the six criteria
pollutants monitored in the U.S., four are the main culprits of respiratory disease exacerbation
during days of poor air quality (ground level ozone (O3), sulfur dioxide (SO2), particulate matter
(PM), and nitrogen dioxide (NO2)). Of these, ozone and PM have been associated with higher
morbidity and mortality in vulnerable groups, such as children.

Ozone is formed when oxides of nitrogen, which can come from diesel exhaust, and VOCs
interact with sunlight. Ground level ozone is an irritant to the lungs and is known to worsen with
climate change and increased temperatures. Some of the health effects that are associated with
ozone are: shortness of breath, coughing, and aggravation of chronic lung diseases such as
asthma, chronic obstructive pulmonary disease (COPD), which is also known as emphysema.
Damage to the lungs continues even when symptoms have dissipated. Exposure to ozone during
childhood not only exacerbates asthma, but also can lead to new on-set of asthma as well as
permanently impacting lung function (Searing & Rabinovitch, 2001). While everyone loses some
of their lung function as they age, children with lesser lung function may be more likely to
develop chronic lung diseases as adults.

PM is a complex mixture of solid and liquid particles released into the atmosphere when fossil
fuels and other materials are burned or during wildfires. Particles of 2.5 micrometers or less
(PM2.5) can enter the lung and reach the alveoli and from there the circulation.




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In general, exposure to air pollutants can trigger airway inflammation and hyper-responsiveness
and decrements in lung function (Koren, 1995; Seltzer et al., 1986; Silverman et al., 2010). Air
pollution can lead to new cases of asthma, aggregate existing asthma, decrease lung functioning,
increase respiratory symptoms like coughing, and lead to other adverse health impacts for
children. Children with chronic health conditions such as asthma, aeroallergies, cardiovascular
disease, cerebrovascular disease, or chronic lung diseases are more susceptible to poor air quality
– visits to the emergency room (ER) and hospital admissions are more common during poor air
quality days. Although some air quality conditions have improved since the implementation of
the Clean Air Act, more than four in ten people in the U.S. (38.9%) live in communities with
poor air quality (American Lung Association, 2017). Children from low income populations,
both in the United States and globally are disproportionally exposed and affected by polluted air.

Children are particularly vulnerable to outdoor air pollution as they spend more time outdoors,
have higher minute ventilation, and inhale more pollutants per pound of body weight (Gilliland
et al., 1999; Dixon, 2002). Increased respiratory symptoms, such as asthma exacerbations,
wheezing and cough, transient or permanent decrements in lung function and upper airway
infections have been associated with exposure to air pollution in the pediatric population (Nicola,
1999; MacIntyre et al., 2014; Esposito et al., 2014). Asthma is the most common pediatric
chronic disease, affecting 6.8 million, or 9.3% of American children in 2012 (Bloom et al.,
2013). In 2008, asthma accounted for an estimated 14.4 million lost days of school among
children in the U.S. (Meng et al., 2012). Early exposure to air pollution has been associated with
the development of asthma in children. McConnell et al. followed a cohort of children less than 6
years and monitored the development of new-onset asthma in association to exposure to traffic-
related air pollution (TRAP). They found that new onset asthma was associated with exposure to
non-freeway traffic-related pollution at homes and schools, with rates higher in children with a
history of allergy, parental history of asthma and maternal smoking during pregnancy
(McConnell et al., 2010). A longitudinal birth cohort study assessed the incidence of asthma
from follow-up visits up to 14-16 years in the context of exposure to NO2 and PM2.5 at the birth
address. It was found that exposure to NO2 and PM2.5 at the birth address was associated to the
incidence and prevalence of asthma throughout childhood and adolescence (Gehring et al.,
2015).

Asthmatic patients have more emergency room visits and hospitalizations in days with poor air
quality. Hospital admissions in three cities in Texas increased in children ages 5-14 after short-
term exposure to elevated ozone (Goodman et al., 2017). Besides, increased pediatric ER
department visits for asthma exacerbations have been associated with elevated ozone and PM10
levels (Tolbert et al., 2000). A retrospective study by Silverman et al., examined the risk of
intensive care and general hospital admissions for patients of all ages in 78 hospitals in New
York admitted to the hospital from 1999 – 2006, at times of elevated ozone and PM2.5. For both
ozone and PM2.5 exposures, children ages 6 – 18 years had an increased rate of ICU admissions
and general hospitalizations associated to high levels of PM2.5 and ozone (Silverman & Ito,
2010).

In my practice I, Dr. Susan Pacheco, have seen children whose asthma has been under excellent
control for a long time, present with an unexplained asthma exacerbation in spite of strict
compliance with medical recommendations and no identifiable triggers. In these patients, I, Dr.



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Susan Pacheco, have invariably found that the days preceding their exacerbations were days with
poor air quality. To this effect many of the parents of children with asthma, and at times their
own children (one as young as five years), monitor the air quality index to decide if they will
participate in outdoor activities.

In addition to patients with asthma, other patient populations can be adversely affected by
exposure to air pollution. In patients with cystic fibrosis, air pollution exposure can cause a
functional decline in lung function and increased pulmonary exacerbations (Goss et al., 2004).
This has been observed upon exposure to PM10, NO2, and ozone (Goeminne et al., 2013). In
addition, the mean annual concentration of PM2.5 in the calendar year prior to birth is an
independent risk factor for MRSA and Pseudomonas acquisition (Psoter et al., 2017; Psoter et
al., 2015). Children with sickle cell disease are vulnerable to complications in days of poor air
quality. Exposure to ozone, NO2, SO2, and PM has been associated with pain exacerbations, ER
visits, and increased hospital admissions (Piel et al., 2017; Barbosa et al., 2015).
Furthermore, part of the increase prevalence of chronic obstructive lung disease (COPD) in adults
can be traced to exposures that occurred during childhood. Exposure to high levels of PM2.5 and
ozone in patients with asthma has been associated to higher risk of developing asthma–chronic
obstructive pulmonary disease overlap syndrome (ACOS) (Stocks et al., 2013; Grigg, 2009). The
combination of many variables such as basic lung function parameters for FEV1 and FVC,
partially established at birth, genetics, prematurity, and history of bronchopulmonary dysplasia
contribute to the development of COPD in the adult (Martinez, 2016).
Unfortunately, even in the intrauterine environment the developing fetus is not sheltered from air
pollutants. For example, fine (PM2.5) and ultrafine (PM.1) particulate matter breathed by the
pregnant mother can reach the alveolar space and from there the circulation. The resulting
inflammatory response and immune system activation is not confined to the airways but
disseminates and may affect the developing child. Fetal development can be adversely affected
by exposure to air pollutants such as NO2, O3, and PM during different stages of gestation,
resulting in low birth weight, small for gestational age (SGA), and preterm births, all of which
are associated to increased morbidity and mortality (Mendola et al., 2016; Stieb et al., 2016; van
den Hooven et al., 2012; Hyder et al., 2014; DeFranco et al., 2016; Vinikoor-Imler et al., 2014).
There is data on how chronic and acute exposures to ozone, NO2, SO2, CO, or PM increased the
risk of stillbirth (Mendola et al., 2017; DeFranco et al., 2015; Faiz et al., 2012)

Children whose mothers have been exposed to air pollution during pregnancy are at risk of
neurodevelopmental disorders. Exposure to high levels of PM2.5 during the third trimester of
pregnancy increased the risk of autistic spectrum disorder in children (Raz et al., 2015). Similar
findings were reported by Flores-Pajot et al. who described the association between exposure to
NO2 and PM2.5 during pregnancy and increased risk of autism spectrum disorder. Although
limited data, a similar trend was observed with exposure to ozone in the same study (Flores-Pajot
et al., 2016). Fetal lung development can be affected by exposure to pollutants during pregnancy
and persist during childhood. Six hundred and twenty children from a group of U.S. mothers
exposed to high NO2 and benzene during pregnancy had decreased lung function parameters
(i.e., forced expiratory volume (FEV1), forced vital capacity (FVC), peak expiratory flow (PEF))
at the age of 4.5 years (Morales et al., 2015). To this effect, the potential adverse effects to the



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fetus upon exposure to air pollutants are not part of the routine counseling pregnant women
receive.

The effects of air pollution on neurodevelopmental conditions in children with long-term
exposures deserve special attention due to the long term implications for children in general and
all future generations. In the early 2000s Dr. Calderón-Garcidueñas noticed that older dogs
living in a highly polluted area in Mexico City, exhibited signs of dementia and disorientation.
Their brains had extensive deposits of the protein amyloid b, similar to those associated to
Alzheimer’s disease. Similar findings were found in the brains of children with long-term
exposure to air pollution in Mexico City where their cognitive deficits were associated to
neuroinflammation and neurodegeneration, structural and volumetric changes and tissue changes
seen in patients with Parkinson and Alzheimer’s disease (Calderón-Garcidueñas et al., 2015,
Calderón-Garcidueñas et al., 2016).

While the combustion of fossil fuels is a major source of air pollution, the extraction of fossil
fuels is too. In many areas, fossil fuels are now primarily extracted through hydraulic fracturing
(fracking), a methodology that has been linked with numerous air pollution and public health
concerns. Xiuhtezcatl M.’s concern that fossil fuel exploitation in Colorado adversely impacts air
and water quality, and his health, is very well founded (First Amended Complaint at ¶ 22). Data
collected in Colorado, Pennsylvania, and Texas indicates that a myriad of hazardous emissions
occur in conjunction with natural gas facilities. These findings are summarized in Brown et al.
(2015).

                 Emissions Occurring in Conjunction with Natural Gas Facilities
                               (adapted from Brown et al. (2015))
                 Acetaldehyde

                 Benzene

                 Butadiene

                 CO (carbon monoxide)

                 1,3, carbon disulfide

                 Carbon tetrachloride

                 Ethyl Benzene

                 Formaldehyde

                 n-Hexane

                 NOx (oxides of nitrogen)

                 PM2.5 (particulate matter less than 2.5 microns)

                 PM10 (particulate matter less than 10 microns)



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                  SOx (oxides of sulfur)

                  Toluene

                  Tetrachloroethylene

                  2,2,4-Trimethylpentane

                  Trimethyl pentene

                  VOCs (Volatile Organic Compounds)

                  Xylenes (isomers and mixture)



Gas and oil extraction requires extensive diesel truck traffic with its attendant air pollution. The
large volume of truck traffic also creates dust and particulate matter. For those living along haul
routes, increased truck traffic increases diesel exhaust, creates noise and vibration, and creates
safety risks. In addition to truck traffic, traffic also increases from an increased population of
workers commuting to and from the pads. A health impact assessment (HIA) in Battlement
Mesa, Colorado estimated that traffic would increase 40 to 280 truck trips per day per pad as
well as 120 to a 150 additional workers commuting to the well pads.

Diesel exhaust includes various gases: carbon dioxide, oxygen, carbon monoxide, nitrogen
compounds, sulfur compounds, and numerous low molecular weight hydrocarbons. Other gases
include formaldehyde, acetaldehyde, acrolein, benzene, 1-3 butadiene and polycyclic aromatic
hydrocarbons (PAHs). Diesel exhaust particulates include PAHs, sulfates, nitrates, metals,
organics and trace elements. PAHs are carcinogenic and cause respiratory problems. Much of the
particulate matter in diesel exhaust is at the PM2.5 level. PM2.5 are small enough that they
bypass many of the body’s protective mechanisms to enter further into the lungs than PM10.
They are small enough that some may enter directly into the blood stream. Overall, PM2.5 are
more hazardous than PM10. Adverse health effects associated with exposure to PM2.5 include
premature mortality for infants, asthma attacks, and other respiratory symptoms (EPA, 2015).
Diesel exhaust is recognized as a human carcinogen.

Hazardous air pollutants, methane, and VOC releases can occur at any stage of unconventional
natural gas extraction (UGE) as is occurring in Colorado: during exploration, during production
through venting, flashing, flaring, or during storage and transportation through fugitive
emissions. The majority of VOC emissions during extraction come during the well completion
phase, with trucks, pneumatic controllers, and drill rigs as other significant sources as well.
Numerous pieces of industrial equipment are needed during UGE, including diesel trucks, diesel
engines, drilling rigs, power generators, phase separators, dehydrators, storage tanks,
compressors, and pipelines. Each one can be a source of methane, VOCs, nitrogen oxides,
particulate matter and other gases. Methane that comes up from the well is not pure methane, but
is a mixture of methane and other VOCs, and HAPs. Once methane is recovered and moved
through tanks, pumps, pneumatics, and pipelines, all of those components leak to some degree,
or vent by design as in the cases of pneumatic controllers, and thereby contribute to air pollution.


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Flaring is the burning of methane and other gases that are not captured for commercial sale. This
burning is done at the top of the stack in the open air. While new federal regulations limit flaring,
there are instances in which it is still allowed. Emissions from this incomplete combustion
include: VOCs, carbon monoxide, particulate matter, sulfur dioxide, nitrogen dioxide, hydrogen
sulfide, acetaldehyde, acrolein, benzene, ethylbenzene, formaldehyde, hexane, naphthalene,
propylene, toluene, and xylenes.

Hazardous air pollutants, methane, and other volatile organic compounds (VOCs) are leaked into
the air intentionally and unintentionally. Leakage begins once flow back starts and continues
from wellheads, compressor stations, storage facilities, and pipelines. There is a great deal of
debate over the amount of gas leaked throughout the supply chain. One study estimated that
between 3.6 and 7.9% of the lifetime production of a shale gas well is vented or leaked to the
atmosphere. EPA estimates that just 1.5% of the gas produced is lost.

Although methane is the main component of the gas that is released from the ground following
the hydraulic fracturing process, the gas also contains a variety of chemicals that must be
separated from the methane prior to transportation in pipelines for use in businesses and homes
for cooking, heating and other purposes. Benzene is one such chemical that is released from the
ground along with natural gas. Although at the time of writing, there are no studies examining
the relationship between benzene exposure from UGE and adverse health outcomes, there are
now some studies that have looked at perinatal exposure to benzene from exposure to petroleum
refineries in Texas and child health outcomes. Two studies examined populations in residential
proximity to petroleum refineries and birth outcomes in the Texas birth defect registry. The
studies found that women exposed to benzene during pregnancy are more likely to have children
with neural tube defects and the two most common types of leukemia. McKenzie et al. (2017)
found an association between maternal residence in proximity to UGE and offspring with
congenital heart defects and possibly with neural tube defects. Another study in France assessed
perinatal exposure to benzene by having women wear monitors to collect data on personal
exposure to benzene. Women who had the most exposure to automobile and truck traffic near
their homes were more likely to have children with smaller growth parameters than the women
who were less exposed to traffic in their homes.

McKenzie and colleagues preformed a human health risk assessment of air emissions that
quantified the risk of non-cancer and cancer endpoints. Exposure was separated into residents
less than half a mile from well pads and greater than a half mile. Exposure was then determined
with ambient air samples around well pads and categorized as during the well completion phase,
when at least one well was undergoing uncontrolled flow-back emissions, and not during the
completion phase. The results of the risk assessment found that the high exposure during the
completion phase created the greatest risk due to higher exposure levels to several hydrocarbons.
Residents living less than a half mile from a well had an elevated risk of both non-cancer and
cancer endpoints. The elevated risk for cancer was found to be six in one million for residents
greater than half a mile, and ten in one million for greater than half a mile, both of which are
above EPA target of acceptable risk of one in a million. The authors found that benzene was a
major component of the elevated cancer risk.



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Macey et al. (2014) found markedly elevated levels of multiple air pollutants in samples taken in
Arkansas, Colorado, Ohio, Pennsylvania, and Wyoming. Many of these samples were collected
on residential property close to well pads (30-350 yards) at which elevated levels of benzene
were measured. Macey et al. said that “[t]he results suggest that existing regulatory setback
distances from wells to residences may not be adequate to reduce human health risks.”

In addition to the air pollutants from the extraction of oil and gas, there are numerous other
sources of air pollution associated with fossil fuels. For example, the EPA had observed that
children of mothers who were exposed to increased levels of polycyclic aromatic hydrocarbons
(PAHs), which are produced when gasoline is combusted, during pregnancy have a greater
chance of experiencing negative effects on their neurological development, including reduced
intelligence quotient (IQ) and behavioral problems, as well as respiratory effects (EPA, 2013). In
the pediatric population exposure to traffic pollution, particularly benzene, has been associated to
leukemia (Filippini et al., 2015).

Meanwhile, fossil fuel-powered electrical utilities and industry are the primary source of sulfur
dioxide in the U.S., which is associated with respiratory symptoms for children, emergency
department visits, and hospitalizations for respiratory conditions (EPA, 2013; EPA, 2015). Nitric
oxide and nitrogen dioxide, which are emitted by motor vehicles as well as power plants, and
engines and other equipment, are also associated with adverse health effects for children,
including respiratory symptoms and respiratory-related emergency department visits and hospital
admissions (EPA, 2013).

While these air pollutants are already harming children’s health, because higher average
temperatures and heat waves exacerbate this air pollution problem, actually increasing ground
level ozone, fine particulate matter, nitrogen oxides, and sulfur oxides, the problem is only
expected to get worse (EPA, 2013). These air pollutants can be harmful for children: they may
contribute to the development of new cases of asthma, aggravate preexisting cases of asthma,
cause decrements to lung function, increase respiratory symptoms such as coughing and
wheezing, and increase hospital admissions and emergency room visits for respiratory diseases.
Because children may spend a lot of time outdoors, even while exerting themselves for sports or
play, they can be especially vulnerable to the impacts of poor air quality” (EPA, 2013).

In the context of the adverse effects of air pollution described above, it is our expert opinion that
the Plaintiffs and other children around the U.S. are destined to a future of illness, restrictions of
outdoor activities, and psychological stress. It may not be evident but air pollution is already
affecting the Plaintiffs, and all children in the U.S. without discrimination by race, ethnicity,
gender socioeconomic status, or education, while certain groups of children are harmed even
more. In our expert opinion, the fact that today’s children and all future generations have been
completely immersed and will have a lifelong exposure to the detrimental effects of air pollution
starting in the intrauterine environment is an alarming fact. While at this point we do not know
the full magnitude or severity of the long-term outcomes of these exposures and how it will
affect these children as they become adults, we do know that we have more children with asthma
and aeroallergies, chronic lung disease, neurodevelopmental conditions, and repeated infections.
In our expert opinion, as long as fossil fuels are being extracted and combusted, children will
continue to suffer from a myriad of adverse health impacts. The only way to address those health



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impacts is to reduce, and eventually eliminate, our reliance on fossil fuels as our primary energy
source.

IV.    CLIMATE CHANGE AND EXPOSURE TO AIR POLLUTION WILL HAVE
       SIGNIFICANT LONG-TERM IMPACTS FOR CHILDREN REGARDING
       THEIR DEVELOPMENT AND SUCCESS IN LIFE

In our professional opinion, the adverse health impacts of climate change for children will result
in life-long impacts. The life-long impacts will result both from repeated exposure to the impacts
of climate change (until the federal government adequately responds to climate change and the
threats are minimized), and also because when children experience climate-related health issues,
the impacts, even from acute exposure, can result in impaired physical or cognitive development
with life-long consequences.

      A. Children’s Exposure to Adverse Childhood Experiences Can Cause Long-term
         Health Impacts

There is widespread scientific literature explaining how children who are exposed to stressful or
traumatic events, often referred to as adverse childhood experiences (ACEs), can experience a
myriad of health problems throughout their life. Adverse childhood experiences broadly describe
abuse, neglect, and other traumatic events that occur in an individual’s life before the age of 18
(Felitti et al., 1998). People with excessive exposure to ACEs in childhood are more likely to die
at a younger age, as well as having a host of medical and mental health problems (see Figure 2)
(Brown et al., 2009; Foege, 1998; Chapman et al., 2004). The ACEs measured in the original
Felitti study included such things as physical, sexual, and verbal abuse; physical and emotional
neglect; and losing a parent to separation, divorce or other reason. Other research has shown that
living in an unsafe neighborhood, being bullied, and other aspects of urban living can function as
adverse childhood events (Cronholm et al., 2015). Likewise, living is a war zone has been
shown, not surprisingly, to be an adverse childhood experience (Sagi-Schwartz, 2008). Another
term that has been used to describe the impact of adverse childhood events on children is toxic
stress. Toxic stress is living situations and experiences that activate the human body’s natural
stress response system in an excessive, prolonged manner (Shonkoff et al., 2009; Shonkoff et al.,
2012; McEwen, 2007). Conditions that trigger chronic fear and anxiety similarly produce
excessive, prolonged activation of the stress response system (National Scientific Council on the
Developing Child, 2010).

In our expert opinion, many of the childhood experiences associated with climate change are
ACEs, or comparable to ACEs, and cause toxic stress. Childhood displacement after major
weather events is a well-documented traumatic phenomenon. The anxiety associated with living
in an area experiencing repeated severe weather events, such as the Texas-Louisiana coast along
the Gulf of Mexico (Weisler et al., 2006) or in areas experiencing repeated wildfires such as
areas of California, Oregon, and Colorado create toxic stress (Marshall et al., 2007).

The Plaintiffs in this case who have experienced severe storms or wildfires have experienced
adverse childhood events. This puts their long-term health at risk. They deserve protection from
the government through actions that dramatically reduce greenhouse gas emission and thereby



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limit their risk of experiencing additional ACEs. Research has shown that the more ACEs
children are exposed to, the greater their health risks (Felitti, 1998). These Plaintiffs, and
similarly situated children throughout the U.S. have been, and continue to be, deprived of full
health as a result of the government’s actions that are causing climate change.




Figure 2: Illustrating the life-long impacts of adverse childhood experiences (Felitti et al., 1998).


     B. Children’s Exposure to Climate Change Can Cause Long-term Cognitive,
        Behavioral, and Mental Health Impacts, Inhibiting Children’s Learning and
        Long-term Success

Children growing up and born today are “immersed” in climate change. Climate change is, by
definition, creating an entirely new environment in which children are growing up. We will have
entire generations of children who were conceived, born, and growing up in this new
environment. Because this environment is unpredictable, and the threats posed by climate change
are unprecedented, it makes predicting the full magnitude and severity of the impacts on children
difficult. However, as described above, there is abundant evidence that the health of children is
being already harmed by climate change, and in our expert opinion, the adverse health impacts
will get significantly worse without immediate steps to address climate change. For example, we
know, from research done in the Los Angeles area over many years, that children who grow up
in an area with more air pollution have smaller lung capacity when they reach adulthood.
Therefore, it is reasonable to expect that this will occur under climate change where there is a


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corresponding increase in air pollutants. Likewise there is information that children growing up
in areas with more air pollution will have a lower IQ.

Part of children’s special vulnerability comes from the fact that they have a longer “shelf-life”
than do adults. Because children live longer lives, they are more likely to develop health
problems that occur years after an exposure to a health threat, or after years of exposure to a
threat. If, for example, it takes about 40 years for a medical problem to develop after exposure to
a particular hazardous contaminant, then the 16-year-old who is exposed is more likely to live
long enough to develop the cancer. Likewise, if it takes 40 years of continuous exposure to
elevated levels of air pollution for a medical problem to develop, then a child with onset of
exposure at 16 is more likely to manifest that problem than an adult with onset of exposure at 60.
This is the situation children are facing today – they are being exposed to hazardous,
carcinogenic contaminants (for example petroleum products or other fossil fuel-based toxic
substances in floodwaters after an extreme weather event, which can cause health problems years
later (as well as immediately); and children are exposed to continuously elevated level of air
pollutants from the combustion and extraction of fossil fuels.

Children exposed to certain climate change and air pollutants, can experience changes to
neurological development, with life-long consequences. For example, pregnant women are
especially vulnerable to high heat, which increases the number of preterm births and incidences
of low-weight babies. Birth weight is a proxy measure of fetal health and is linked to illnesses in
childhood and later in life. Elevating fetal temperature by 2°C-2.5°C for just an hour can lead to
moderate to severe damage to the nervous system and impede neural development (Zivin &
Shrader, 2016). Excess heat in the womb can also result in both physical defects, delay brain
development, and cause other central nervous system problems – all of which can lead to life-
long consequences by limiting a child’s educational attainment and economic prospects (Zivin &
Shrader, 2016). Thus exposure to high-heat, even when just a fetus, can result in life-long
consequences.

Furthermore, there are now numerous studies that link exposure to outdoor air pollution and
harmful impacts on the brain. The project Targeting Environmental Neurodevelopmental Risks
(TENDR) Consensus Statement stated that air pollutants-related chemicals including particulate
matter PAHs, and nitrogen dioxide are “prime examples of toxic chemicals that can contribute to
learning, behavioral or intellectual impairment, as well as specific neurodevelopmental disorders
such as attention deficit hyperactivity disorder or autism (Bennett et al., 2016). The majority of
brain development occurs before a child is born. Critical development continues until six; and
further development continues into early adulthood. Neurological damage that occurs during
childhood may continue to cause harm throughout the individuals’ life (Perera, 2017). For
example, three-year-old children exposed prenatally to high levels of PAHs had lower mental
development scores on developmental tests (Perera et al., 2006). At age 5, these children
performed lower on IQ tests than children with lower PAH exposure (Perera et al., 2009). As
these children got older, they continued to manifest adverse neurocognitive impacts – including
anxiety, depression and hyperactivity – as compared to children with lower PAH exposure
(Perera et al., 2014).




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Other studies have shown an association between prenatal exposure to combustion pollutants and
children with autism spectrum disorders (von Ehrenstein et al., 2014; Becerra et al., 2013; Volk
et al., 2014; Roberts et al., 2013; Kalkbrenner et al., 2015; Raz et al., 2015; Volk et al., 2013;
Talbott et al., 2015).

There is also abundant evidence and literature on the association between climate change and
mental health impacts. According to the federal government, “[t]he effects of global climate
change on mental health well-being are integral parts of the overall climate-related human health
impacts” (Crimins et al., 2016). Those most vulnerable to distress and other adverse mental
health impacts include children. Climate change can cause purely mental health impacts but
mental health impacts also tend to be associated with physical ailments. Thus, as climate change
causes more physical health problems for children, the increased prevalence of the physical
ailments will lead to an increase in mental health impacts.

Accordingly, Kelsey Juliana’s concerns about her psychological and emotional harm, in part
from projections about Oregon’s water supply and other impacts of climate change, is very well
founded. It is well documented that individuals suffer from anxiety and other manifestations of
mental distress when confronted with the reality of climate change (Clayton et al., 2014; Clayton
et al., 2017). Given the results of the studies just mentioned, Journey Z. is not alone being scared
and worried about the state of the planet. Given that he lives on an island and has seen first-hand
some of the changes wrought by climate change, his anxiety is based in reality and is
appropriate. We would expect the mental health impacts associated with climate change to
become more widespread and severe in the coming years without immediate actions by the
federal government to address climate change. Whether from acute or chronic climate change
impacts, mental health impacts can result in life-long challenges for children, and can even alter
one’s DNA and be passed on to future generations.

V.     PROMPT MITIGATION STRATEGIES ARE THE ONLY SOLUTION TO
       PROTECT CHILDREN AGAINST CLIMATE CHANGE HARMS AND
       DANGERS TO THEIR PERSONAL HEALTH SECURITY

It is our expert opinion that in order to mitigate and prevent health problems associated with
climate change and air pollution, decreasing atmospheric CO2 is essential. Decreasing
atmospheric CO2 can only reasonably and rationally be achieved by ending the burning of fossil
fuels and ceasing other anthropogenic sources of greenhouse gases. One can build all the sea
walls that one wants to try and adapt to sea level rise. One may treat children for Lyme disease,
malaria, heat exhaustion, asthma, dehydration, and other health impacts, but those measures do
not deal with the overall problem and will not solve the health problems facing children and
future generations. Decreasing atmospheric CO2 concentrations and ceasing other anthropogenic
sources of greenhouse gases (i.e., primary prevention), is the only way to ensure a safe and
healthy future for children.

Similarly, the appropriate response to the health threats posed by lead is not just to treat
children’s medical conditions that result from exposure to lead, but to reduce and eliminate the
use of lead and children’s exposure to lead. Treating children’s health problems associated with
climate change, without addressing the underlying threat of climate change, would be akin to



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providing medical care to children exposed to lead-contaminated water in Flint, Michigan (or
elsewhere), while children continue to drink water contaminated with lead – a preposterous
notion. Just like it is impossible to adequately address the health threats posed by lead without
eliminating children’s exposure to lead, it is impossible to adequately address the health threats
children face from the fossil fuel energy system and climate change without addressing the fossil
fuel energy system and climate change.

                                           CONCLUSION

The health of these Plaintiffs, along with other children, is already harmed by climate change
and air pollution. As a result of their unique physiological features, children are especially
vulnerable to the impacts of climate change, such as excess heat and extreme weather events.
Children are also disproportionately vulnerable to air pollution related to the extraction and
combustion of fossil fuels. At this point we know that the damage inflicted by the
environmental changes imposed by the changing climate start in the intrauterine environment
and continue to affect children as they grow. While children are also being impacted by climate
change and air pollution, many more children, will be impacted unless the federal government
addresses the climate crisis.

Sea level rise is impacting not only on the health of these Plaintiffs and other children, it is
destroying the land (and islands) on which they live. It is our expert option that this loss of place
will have incalculable consequences on the mental and physical health of the children so
impacted. Furthermore, we are seeing changes in the patterns and severity of allergic diseases
including asthma. For those Plaintiffs, and other children so impacted, this means the use of
medication on a daily basis, the anxiety of not being able to breathe properly and the loss of
simple childhood activities such as going outdoors to play. It is our expert opinion that the
federal government’s actions to promote fossil fuels have contributed to the problems sustained
by these children. Severe weather events and wildfires are increasing in both severity and
frequency. These events are quintessential Adverse Childhood Events. By definition, ACEs have
long-term, negative impacts on the children’s mental and physical health. It is our expert opinion
that these problems would be less severe and less prevalent had the government implemented
policies to curtail the use of fossil fuel at the time that they became aware of the threat.

Children like Plaintiff Jayden F. should not have to struggle to survive during a
hurricane. Plaintiff Jaime B. should not have to worry about her family’s displacement due
drought and lack of water or not being able to play outdoors. Plaintiff Levi D. should not have
nightmares, experience anxiety, sadness or anger about the current and future effects of climate
change. They should not have to worry about moving from their home because of sea level
rise. Children should be allowed to be children and should have age-appropriate concerns.

In our expert opinion, the magnitude of the threat facing these Plaintiffs, and other children, is
unprecedented and will have life-long impacts for them, as well as future generations. It is also
our expert opinion that this is an urgent situation. We need to start treating climate change like
the public health crisis that it is. In order to address the public health threats children are facing
from climate change and air pollution, the federal government must ensure that carbon dioxide
emissions and other greenhouse gas emissions are severely reduced immediately. Without


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prompt action by the federal government to phase out fossil fuels, the government will be
consigning children and future generations to lives that will undoubtedly be less enjoyable,
prosperous, successful, and indeed, will be increasing cut short. The physical and psychological
damage imposed by the changing climate is insidious and if we don’t immediately engage in
adequate mitigation strategies it will become relentless. We must protect the future of our
children from climate change. The health of our children and the future of our country are not
negotiable.




       Signed this 13th day of April, 2018 in Houston, Texas.




                                                            Dr. Susan Pacheco, MD



       Signed this 13th day of April, 2018 in Sarasota, Florida.




                                                            Dr. Jerome Paulson, MD, FAAP




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                 EXHIBIT A: CURRICULUM VITAE

                        SUSAN E. PACHECO, MD




                             Exhibit A 1
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                         CURRICULUM VITAE AND BIBLIOGRAPHY


                                                                                    April 11, 2018

NAME:             Susan E. Pacheco, MD

PRESENT TITLE: Associate Professor of Pediatrics

ADDRESS:          University of Texas-Houston
                  Department of Pediatrics
                  Division of Pulmonary Medicine
                  6431 Fannin St., MSB 3.228
                  Houston, TX 77030


BIRTHDATE:        April 13, 1960

CITIZENSHIP:      United States of America

UNDERGRADUATE EDUCATION:

1976 – 1981       University of Puerto Rico in Mayaguez, Puerto Rico B.S.

GRADUATE EDUCATION:

1981 – 1985       University of Puerto Rico, San Juan, Puerto Rico M.D.
1986 – 1988       Louisiana State University, New Orleans Louisiana M.S.
                  Microbiology/Immunology

POSTGRADUATE TRAINING:

1985 – 1986       Intern, Department of Pediatrics
                  Louisiana State University, New Orleans, LA


1988 – 1990       Resident, Department of Pediatrics
                  Baylor College of Medicine, Houston, TX


1990 – 1992       Fellow, Allergy & Immunology, Department of Pediatrics
                  Baylor College of Medicine, Houston, TX


1992 – 1994       Fellow, Clinical Laboratory Immunology
                  Baylor College of Medicine, Houston, TX


1993 – 1996       Research Associate, Allergy/Immunology
                  Baylor College of Medicine, Houston, TX

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ACADEMIC AND ADMINISTRATIVE APPOINTMENTS:

1996 – 2005        Assistant Professor, Department of Pediatrics
                   Pediatric Allergy and Immunology Division
                   Baylor College of Medicine, Houston, TX

2007 – 2011        Assistant Professor, Department of Pediatrics
                   Pediatric Pulmonary Medicine, Allergy & Immunology Division
                   University of Texas Medical School, Houston, TX

2007 – 2012        Adjunct Professor, Department of Pediatrics
                   University of Puerto Rico School of Medicine, San Juan, PR

2011 – present     Associate Professor, Department of Pediatrics
                   The University of Texas Medical School, Houston, TX



HOSPITAL APPOINTMENTS:

1996 – 2005        Texas Children’s Hospital, Houston, TX

2007 – present     Children’s Memorial Hermann Hospital, Houston, TX

2011 – present     Lyndon B. Johnson Hospital, Houston, TX

2011 – present     MD Anderson Cancer Center, Houston, TX


LICENSURE:         Texas Medical License # K3373, 1990
                   Louisiana Medical License, 1985-1987


CERTIFICATION:

1990               American Board of Pediatrics

1993, 2005, 2015   American Board of Allergy and Immunology

1994               Clinical and Laboratory Immunology


PROFESSIONAL ORGANIZATIONS AND COMMITTEES OF THESE

2002 – present     American Academy of Allergy, Asthma & Immunology

2003 – 2005        Mucosal Immunology Society
                                                  2
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2009 – 2013         American Thoracic Society

2011 – present      Jeffrey Modell Foundation for Primary Immunodeficiency

2012 – present      American Academy of Pediatrics. Council on Environmental Health



HONORS AND AWARDS:

1991, 1992          Schering Travel Grant, 47th and 48th Annual Meeting, AAAAI. San Francisco, CA.

1992 – 1996         National Institute of Allergy and Infectious Diseases Institutional Training
                    Award Clinical Research on AIDS. Bethesda, MD.

1993, 1994          Minority Scientist Travel Award, AIDS Postdoctoral Fellows Meeting,
                    NIAID, NIH. Bethesda, MD.

2009 - 2015         Dean’s Teaching Excellence Award. University of Texas Health Science Center.
                    Houston, TX.

2013                 “The United States White House Leadership Champions of Change Award”.
                    Awarded in recognition of leadership activities in public health and climate
                    change in the United States and abroad.
                    (http://www.whitehouse.gov/champions).

2013                “Climate Reality Leadership Corps” Recognition video (The Climate Reality
                    Project) (https://www.youtube.com/watch?v=BNfFG9qfzuE).

2016                “Green Ring Award” Given in recognition of outstanding work towards solving the
                    climate crisis” (The Climate Reality Project).

EDITORIAL POSITIONS:

2012 – present      Annals of Clinical and Laboratory Science (Dr. N. Tatevian, editor).


SERVICE ON NATIONAL GRANT REVIEW PANELS, STUDY SECTIONS, COMMITTEES:

1997, 1998, 2001    Center for AIDS Research (CFAR). Grant reviewer.
                    Baylor College of Medicine, Houston, TX.

2001 – 2005         Women and Infants Transmission Study (WITS). Co-Investigator and executive
                    committee member. NIAID, NIH. Bethesda, MD.

2001 – 2005         Pediatric AIDS Clinical Trials Group Vaccine Subcommittee. Member. NIAID,
                    NIH. Bethesda, MD.

2002 – 2006         Mitochondrial Toxicity Review working group for the Women Infants
                    Transmission Study (WITS). Chair. NIAID, NIH. Bethesda, MD.
                                                   3
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2003              Biodefense Partnerships, Adjuvants,
                  Therapeutics, Diagnostics and Resources. Scientific review committee. NIAID,
                  NIH. Bethesda, MD.

2003 – 2005       Center for Research and Education and Unification against Disparities
                  In AIDS of the Caribbean (CREHDAC), Steering committee. San Juan, PR.

2009 – 2013       Environmental and Occupational Respiratory Diseases Committee, American
                  Academy of Allergy and Immunology (AAAAI). Vice-Representative.

2011 - 2013       Severe Combined Immunodeficiency (SCID) Newborn Screening pilot project.
                  Consultant immunologist. University of Puerto Rico School of Medicine, San
                  Juan, PR.

2012 – present    American Lung Association Medical Advisory Board, Houston, TX.

2014 – present    Council on Environmental Health (COEH), American Academy of Pediatrics.
                  Executive Committee member.

2014 – present    Council on Environmental Health (COEH), Didactic activities committee for the
                  2016, 2017 National Convention, American Academy of Pediatrics. Chair.

2014 - present    U.S. Climate and Health Alliance. Member.



SERVICE ON THE UNIVERSITY OF TEXAS HEALTH SCIENCE CENTER AT HOUSTON
COMMITTEES:

2008 – 2011       Faculty Senate

2008 – 2014       Education Division Committee - Department of Pediatrics.

2008 – 2012       University of Texas Mitochondrial Center of Excellence, Co-Director.

2009              Center for Clinical and Translational Sciences – K12 Program grant reviewer

2012 – present    University of Texas Medical School Admission’s Committee. Interviewer

2012 - present    University of Texas Pediatric Medical School Residency Admission’s Committee.
                  Interviewer.

2013 – present    Curriculum Committee

2015 - present    Women Faculty Forum



SERVICE TO THE COMMUNITY:

                                               4
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2005 – 2007       St. Stephen’s Episcopal School, Houston, TX. Parent’s Association. Chair.

2005 – 2007        University of Houston Charter School, Houston, TX. Advisory Board Member.

2006 – present    “The Climate Reality Project” volunteer and mentor. Participated in national and
                  international climate change trainings:

                         1.   Nashville, 2007, 2008
                         2.   Seville, Spain, 2007
                         3.   Mexico City, 2011
                         4.   San Francisco, 2012
                         5.   Chicago, 2013
                         6.   Brazil, 2014

2007             “Calentamiento Global”. Wesleyan High School, San Juan, PR. Presenter.

2007             “Climate Change in Puerto Rico”. American Meteorological Society, student
                 chapter, University of Mayaguez, Mayaguez, PR. Presenter.

2007             “Experiencing Climate Change”. American Chemical society, student chapter,
                 University of Humacao, Humacao, PR. Presenter.

2006 – 2007       National Wildlife Federation. Volunteer.

2007              “Facing the Consequences of Climate Change in Puerto Rico”. San Juan, PR.
                  Health consultant.

2008 – 2010       University of Texas Recycling Group. Consultant.

2009              “Climate Change and Health: What are we doing?
                  Christian Life Commission Assembly, Austin, TX. Presenter.

2010 – 2012       Climate Reality Project - Puerto Rico. District Manager.

2011 – 2013      Habitat for Humanity, Houston, TX. Volunteer.

2011 – 2014       Puerto Rico Climate Change Council – Working Group III for the
                  Assessment of the Health Impacts of Climate Change in Puerto Rico and the
                  Caribbean. San Juan, PR. Consultant.

2012 – present    Climate Science Rapid Response Team. Health consultant.
                  (www.climaterapidresponse.org)

2012 – present    American Lung Association Leadership Council Committee, Gulf Coast Region.
                  Houston, TX. Member.

2013 – present    Climate Change Working Group with the University of Rice, Houston, TX. Member.

2014              “Millennium Development Goals 6”: The Threat of Climate Change”. Global Issues
                  Summit, Global Studies Academy. Invited speaker.

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2015              “The Non-pulmonary Effects of Air Pollution: Why we should reduce the current
                  ozone standards to 60 ppm”’. Comments submitted to the EPA during the review
                  of new ozone standards levels in the United States.

2015 - present    Physicians for Social Responsibility, Texas chapter. Member.

2016              Air Alliance Houston Advisory Council. Member.


SPONSERSHIP OF CANDIDATES FOR POSTGRADUATE DEGREE:

1999 – 2004      Kelley Warfield. Department of Virology and Microbiology. Baylor College of
                 Medicine, Houston, TX. Thesis committee member.

2009 – 2013      John M. Knight. Department of Immunology. Baylor College of Medicine,
                 Houston, TX. Thesis committee member.


SPONSORSHIP OF POST-DOCTORAL FELLOWS:

2007 – present    Department of Pediatrics, University of Texas Medical School, Houston, TX.

                  Fellows                       Division             Training Years____
                  Ricardo Mosquera              Pulmonary             2007 – 2010
                  Derek Pepiak                  Pulmonary             2007 – 2010
                  Georgios Hartas               Cardiology            2008 – 2011
                  Pragya Rai                    Pulmonary             2008 – 2011
                  Shela Razvi                   Intensive care        2011 – 2014


CURRENT TEACHING RESPONSIBILITIES:

2007 – present    Core lectures in Allergy and Immunology:

                  Pediatric residents
                  Pediatric Pulmonary fellows
                  Internal Medicine residents
                  Adolescent Medicine fellows
                  Cardiology fellows
                  Neonatology fellows
                  Fourth year medical students on subspecialty rotation in Allergy/Immunology and
                        Rheumatology
                  Second year medical students
                  First year medical students

2007 – present    Scholarly activities (e.g. abstracts, posters, lectures, journal club), with the
                  pediatric fellows training in Pulmonary Medicine.

2007 – present    Clinical rotation in Allergy/Immunology for Pediatric and Medicine/Pediatrics
                  residents.
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2010 – present      Rheumatology and Immunology clinical rotation for fourth year medical students
                    from the University of Texas School of Medicine students and out of state
                    medical schools. (Ankur Kamdar, MD and Susan Pacheco)

2011 – present      Global Health Scholarly Concentration. Mentor

2011- 2016          “Climate change and health”. Yearly conference for the Global Health
                    concentration students

2012, 2015          Department of Pediatrics Fellows Research Symposium. Abstract reviewer.

2012 – present      Adolescent Medicine Program – Clinical rotation in Allergy and Immunology
                    Clinic (3 months rotation).

                            1. Dr. Rebecca Beyda
                            2. Dr. Laura Groff

2013 - 2016         Introduction of Ethics and Professionalism Problem Based Learning (PBL)
                    course for second year medical students.

2014                Journal Club, Global Health Concentration. Facilitator.

2015, 2016,         Climate change and human health: Scientific and Humanistic perspectives.
                    Blue Book Elective for first and second year medical students at the University of
                    Texas McGovern Medical School (Thomas Cole, Ph.D., Director).

2016                University of Texas Medical Branch (UTMB) Allergy and Immunology fellowship
                    rotation. Clinical rotation for Pediatric and Adult Medicine fellows training in
                    Allergy and Immunology at UTMB, Galveston, TX. Director.

2016                Introduction to climate change. Lecture for first year medical students. Thomas
                    Cole PhD, (Director) and Susan E. Pacheco, MD.

2017, 2018          “Climate change and health: Air pollution”. Yearly lecture for first year medical
                    students.


MENTORING ACTIVITIES:

2011 – present      Global Health Scholarly Concentration. University of Texas School of Medicine.
                    Mentor. Role: Mentorship of students interested in global medicine and climate
                    change.

2008 – present      Pediatric and Internal Medicine residents from the University of Texas School
                    Texas interested in an Allergy and Immunology fellowship. Mentor.


CURRENT CLINICAL AND SERVICE RESPONSIBILITIES:

INPATIENT HOSPITAL CARE:
                                                  7
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               1. Allergist/ Immunology inpatient consultant for all pediatric and adult patients in
                  the Memorial Herman Hospital System and Children’s MHH (12 months/year
                  service provider, available 24 hrs. /day).
               2. Allergist/ Immunology consultant for pediatric and adult patients at the MDA
                  Cancer Center (as needed on a 12 months/year service provider).
               3. Pediatric emergency room consultant for all patients with mitochondrial
                  disease with fever or suspected infections presenting to the CMHH or other
                  MHH facilities emergency room or admitted to the hospital (12 months/year
                  service provider, available 24 hrs. /day).
               4. Consultant for all Children’s Memorial Hermann Hospital and affiliated
                  community pediatricians and LBJ inpatients who have an abnormal newborn
                  screen (NBS) for Severe Combined Immunodeficiency (SCID). This service
                  includes recommendations for evaluation, assessment and follow up, and
                  notification to the DHHS about the evaluation outcome. (12 months/year
                  service provider).
OUTPATIENT CARE:

               1. Asthma Clinic Program Director at the University of Texas McGovern Medical
                  School (project in process).

               2. University of Texas Pediatric Pulmonary clinic “Enhancing Asthma Care
                  Project Cohort IV” project director with the American Lung Association.

               3. Allergist/Immunologist at the MHH/UT system for formal and informal
                  consultations for adult and pediatric patients.
               4. Phone consultations with UT pediatric physicians, community physicians and
                  out of state physicians for patients with immunodeficiency and mitochondrial
                  disease.
               5. Phone consultations with MHH adult emergency room with patients with life
                  threatening allergic or immune mediated diseases.
               6. Work with the Department of State Health Services (DHSS) in the evaluation
                  and follow up of all patients with abnormal newborn screen for severe
                  combined immunodeficiency (SCIDS) born in the MHH/LBJ system.
               7. University of Texas Pediatric Comprehensive Care Clinic consultant for the
                  care of patients with asthma, allergy, eczema or immunodeficiency.
               8. Monthly meetings with the Mitochondrial Center group for patient care related
                  discussions.
               9. Created and revised all patient care and safety guidelines, protocols and
                  forms used in the Allergy and Immunology clinic at UT Physicians (e.g.
                  management of anaphylaxis, consent forms, development of the v11 template
                  for clinical evaluations).


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CURRENT GRANT SUPPORT:

                Project title:    An enhanced medical home for High Risk Children’s Clinic
                Funding Agency:   CMS
                Percent Effort:   1%
                Award Period:     2012


PAST GRANT SUPPORT:

                Project Title:  HIV-Specific Immunity in Mice after Mucosal Immunization
                Funding Agency: NIAID, NIH
                Award Period:   1996-1999

                Project Title:  Mucosal Immunization with Recombinant Vaccine Virus
                Funding Agency: Center for AIDS Research
                Award Period:   1997-1998

                Project Title:  Mucosal Immunization with Norwalk Virus Virus-Like Particles
                Funding Agency: NIAD, NIH
                Award Period:   1997-1999

                Project Title:  Child Health Research Center New Program Development
                                (Mucosal Immunization Strategies)
                Funding Agency: Child Health Research Center New Program Development
                Award Period:   1998-1999

                Project Title:  Mucosal Vaccines: Memory Type -1 Immune Response to HIV
                Funding Agency: Department of Health and Human Services, NIH, and NIAID
                Award Period:   2001-2002

                Project Title:  Mucosal Vaccine Memory Type I
                Funding Agency: CFAR
                Award Period:   2002-2003

                Project Title:  Pediatrics Clinical Trials Program for AID
                Funding Agency: NIAID
                Award Period:   2002-2005

                Project Title:  Woman and Infants Transmission Study IV
                Funding Agency: NICHD
                Award Period:   2001-2005

                Project Title:  Supplemental Research Funds
                Funding Agency: University of Texas Health Science Center, Department of
                                Pediatrics
                Award Period:   2008-2009


PUBLICATIONS:

                                               9
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A. Abstracts

  Mbawuike, L.N., Pacheco, S.E., Acuna, C.L., Walz, K.C., Harriman, G.R.: IgA-/- knockout
  Mice is not More Susceptible to Influenza Virus Infection. Poster presentation, American
  Association of Immunologists Conference, San Francisco, CA, 1997.

  Pacheco, S.E., Ansari-Lari, M.A., Rogers, P.M.: Mucosal Immunization with HIV-1 RT:
  Comparison of Immune Responses after Intranasal and Intraperitoneal Immunization. Poster
  presentation, 9th Annual Meeting of the National Cooperative Vaccine Development Groups for
  AIDS, Bethesda, MD, 1997.

  Pacheco, S.E., Ansari-Lari, M.A., Rogers, P.: Induction of Cellular Immune Responses after
  Intranasal Immunization with Low Doses of HIV-1 Reverse Transcriptase. Poster presentation,
  Keystone Symposia on Mucosal Immunity, Santa Fe, NM, 1997.

  Pacheco, S.E., and Rogers, P.M.: Effect of Cholera Toxin Dose in the Th1 and Th2 Response
  Induced to Intranasal Immunization with HIV-1 Reverse Transcriptase. Poster presentation, 3rd
  National Basic Aspects of Vaccines Symposium, Washington, DC, 1998.

  Masterson, J., Pacheco, S.E., Rodgers, J.R.: Immune Responses to Human Alpha-1-
  antitrypsin are Controlled by a Non-MHC Gene on Mouse Chromosome 17. Poster
  presentation, North American Cystic Fibrosis Foundation Conference, 1999.

  Pacheco, S.E., Foster, P.A., Rogers, P.M.: Intranasal Immunizations with Vaccinia Virus
  Expressing HIV Reverse Transcriptase (RT): Induction of Antigen-specific T-lymphocytes in
  Multiple Systemic and Mucosal Compartments. Poster presentation, Keystone Symposium on
  HIV vaccine development, Keystone, CO, 1999.

  Pacheco, S.E., Foster, P., Rogers, P.: Oral Immunization with Low Doses of HIV-reverse
  Transcriptase and Cholera Toxin: Induction of a Disseminated Cellular Response in Mucosal
  and Systemic Compartments. Oral presentation, Child Health Research Centers National
  meeting, New Hampshire, 1999.

  Pacheco, S.E., and Rogers, P.M.: Disseminated HIV-specific Immune Responses After Nasal
  Immunization with HIV Proteins. Poster presentation, 8th Conference on Retroviruses and
  Opportunistic Infections, Chicago, IL, 2001.

  Husain, N., Rosenblatt, H.M., Shearer, W.T., Pacheco, S.E., Abramson, S.L.: Granulocyte
  Transfusions in Patients with Chronic Granulomatous Disease: an Established or Experimental
  Therapeutic Procedure? Poster presentation, Poster presentation, American Academy of
  Allergy, Asthma & Immunology Annual Meeting, San Francisco, CA, 2004.

  Tran, D.Q., Baliga, C.S., Hart, M.C., Pacheco, S.E., et.al: Dose Effect of Mucosal Adjuvant
  LT9R192G) on the Induction of Th1 and Th2 Immunity. Poster presentation, American
  Academy of Allergy, Asthma & Immunology Annual Meeting, San Francisco, CA, 2004.

  Baliga, C.S., Hart, M.C., Lamblin, C., Krater, S.S., Estes, M.K., Pacheco, S.E., et.al.: Oral
  Antigen Delivery of Varying Doses of Soluble or Particulate Antigens in the Presence of
  Adjuvant Selectively Induces Th1 or Th2 Responses in Systemic and Mucosal Compartments.
  Poster presentation, American Academy of Allergy, Asthma & Immunology Annual Meeting,
  San Francisco, CA, 2004.
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Mofenson, L.M., Lu, M., Pacheco, S.E., McIntosh, K., et.al: Perinatal Antiretroviral (ARV)
Exposure and Effect on Hematopoiesis in HIV-exposed, Uninfected Children: The Women and
Infants Transmission Study (WITS). Poster presentation. Med Gen Med; 6(3):ThPeB7024,
2004.

McCormick, T.G., Gottschalk, S., Okamura, T., Gresik, M., Dishop, M., Pacheco, S.E.:
Epstein-Barr Virus (EBV) Infection of Natural Killer (NK) Cells and Hypersensitivity to Mosquito
Bites: A different Presentation of X-linked Lymphoproliferative syndrome? American Academy
of Allergy, Asthma & Immunology Annual Meeting, San Antonio, TX, 2005.

Mosquera, R.A., Khan, A.M., Atkins, C.L., Pepiak, D.L., Smith, K.G., Jon, C., Colasurdo, G.N.,
Pacheco, S.E.: Functional and Immune Response to RSV Infection in Aged BALB/c Mice: a
Search for Genes Determining Disease Severity. Poster presentation, American Thoracic
Society, San Diego, CA, 2009.

Pepiak, D.L., Atkins, C.L., Mosquera, R.A., Jon, C., Pacheco, S.E., Bruce, S.R., Khan, A.M.,
Colasurdo, G.N., Alcorn, J.L.: Age-Dependent Respiratory Illness and Surfactant Protein-A
(SP-A) Homeostasis in the Mouse Model of RSV Infection. Poster presentation, American
Thoracic Society, San Diego, CA, 2009.

Pacheco, S.E., Smith, K.G., Muncy, J.L., Koenig, M.K.: Recurrent Sino pulmonary Infections,
Bacteremia and Sepsis in Children with Mitochondrial Complex I-III Deficiency: Immunological
Abnormalities. Mitochondrial Medicine. Poster presentation, Capitol Hill, Vienna, VA, 2009.

Pacheco, S.E., Muncy, J.L., Koenig, M.K., et al.: Children with Mitochondrial Disease and
Recurrent Infections: A Paradigm Shift in our Interpretation of Immunodeficiency? Poster
presentation, American Academy of Allergy, Asthma & Immunology Annual meeting, New
Orleans, LA, 2010.

Mosquera, R.A., Reverdin, A., Rai, P., Pepiak, D.L., Fan, L.L., Smith, K.G., Khan, A.M.,
Pacheco S.E., Colasurdo, G.N., Jon, C.: Pulmonary Function Test Decline in Patients with
Post-infectious Bronchiolitis Obliterans Despite Treatment. Poster presentation, American
Thoracic Society, New Orleans, LA, 2010.

Mosquera, R.A., Koenig, M.K., Chevallier, J., Jon, C., Smith, K.G., Colasurdo, G. N., Pacheco,
S.E.: Sleep Disordered-Breathing is a Frequent Finding in Children with Mitochondrial Disease.
Poster presentation, American Thoracic Society, Denver, CO, 2011.

Mosquera, R.A., Pacheco, S.E., Harris, S., Samuels, C.L., Wootton, S.H., Pedroza, C., Garcia,
C., Avritscher, E., Tyson, J. E.: An Enhanced Medical Home Providing Comprehensive Care
(CC) to High Risk Chronically Ill (CI) Children: A Randomized Trial (RCT). Oral presentation,
Pediatric Academic Society Annual Meeting, Boston, MA, 2012.

Numan, M., Pacheco, S.E., Martinez, R., Butler, I.: Does Histamine have a Role as Immune-
modulator in Neurocardiogenic Syncope and Dysautonomia in Young Populations? Poster
presentation, Dysautonomia International Conference, Washington, DC, 2013.

Mosquera, R.A., Tyson, J., Harris, T., Navarro, F., Pacheco, S.E., Avritscher, S., Wootton, C.,
Pedroza, C., Yadav, A., Samuels, S.: An Enhanced Medical Home For Children With Severe

                                            11
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  Asthma Assessed In A Randomized Controlled Trial. Poster presentation, American Thoracic
  Society, San Diego, CA, 2014.
  Pacheco, S.E., Knight, M., Jon, C., Smith, K., Koenig, M. K.: Etiology, Management and Clinical
  Outcomes of Patients with Leigh syndrome and Febrile Episodes Treated at the University of
  Texas Mitochondrial Center. Poster presentation, United Mitochondrial Disease Foundation,
  Pittsburgh, PA, 2014.

  Tatyana, N., Pacheco, S.E., Koenig, M.K., Barca, E., DiMauro, S., McGuire, P.: Mice l
  Lacking Cox10 in T-lymphocytes Recapitulate the Immune Phenotype of a Cohort of Patients
  with Primary Mitochondrial Disease. Poster presentation, United Mitochondrial Disease
  Foundation, Herndon, VA, 2015.

  Pacheco, S.E., Lankford, J., Gourishankar, A., Numan, M.: Immunological Abnormalities in
  Young Patients with Dysautonomia. Oral presentation, International Society for Autonomic
  Neuroscience (ISAN) Meeting, Stresa, Italy, 2015.

  Pacheco, S.E., McGuire, P.: Decreased Switched Memory B-cells in Pediatric Patients with
  Primary Mitochondrial Disease and Humoral Immunodeficiency. Poster presentation, Pediatric
  Academic Society Annual Meeting, Baltimore, MD, 2016.

  DeJesus-Rojas, W., McBeth, K.E., Smith, K.G., Pacheco, S.E.: Specific Antibody Deficiency in
  Children with Down syndrome and Life-threatening Infections. Poster presentation. American
  College of Allergy, Asthma and Immunology Annual Meeting, San Francisco, CA, 2016.


B. Refereed Original Articles in Journals

   Robinson, J.E., Holton, D., Pacheco-Morell, S.E., Liu, J., McMurdo, H.: Identification of
   conserved and variant epitopes of human immunodeficiency virus type 1 (HIV-1) gp120 by
   human monoclonal antibodies produced by EBV-transformed cell lines. AIDS Res. Hum.
   Retroviruses. 6:56-579, 1990.

   Mbawuike, I.N., Pacheco, S.E., Acuna, C.L., Switzen, K.C., Zhang, Y.X., Harriman, G.R.:
   Mucosal immunity to influenza without IgA: an IgA knockout mouse model. J. Immunol.
   162:2530-2537, 1999.

   Harriman, G.R., Bogue, M., Rogers-Fani, P., Finegold, Ms., Pacheco, S.E., Bradley, Zhang,
   Y.X., Mbawuike, I.N.: Targeted deletion of the IgA constant region in mice leads to IgA
   deficiency with alterations in expression of other immunoglobulin isotypes. J. Immunol.
   162:2521-2529, 1999.

   Pacheco, S.E., Gibbs, R.A., Ansari-Lari, M.A., Rogers, P.: Intranasal immunization with HIV-1
   reverse transcriptase: effect of antigen dose in the induction of Th1-type and Th-2 type
   immunity. AIDS Res. Hum. Retro. 16:2009-2017, 2000.

   Estes, M.K., Ball, J.M., Guerrero, R.A., Opekun, A.R., Gilger, M.A., Pacheco, S.E., Graham,
   D.Y.: Norwalk virus vaccines: challenges and progress. J. Infect. Dis. Supp. 2(181); S367-373,
   2000.


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Guerrero, R., Ball, J.M., Krater, S.S., Pacheco, S.E., Clements, J.D., Estes, M.K.:
Recombinant Norwalk virus-like particles administered intranasally to mice induce systemic
and mucosal (fecal and vaginal) immune responses. J. Virol. 75(20):9713-9722, 2001.

Zhang, Y., Pacheco, S.E., Acuna, C.L., Switzer, K.C., Wang, Y., Gilmore, X., Harriman,
G.R., Mbawuike, I.N.: Immunoglobulin A-deficient mice exhibit altered T helper 1-type immune
responses but retain mucosal immunity to influenza virus. Immunology.105 (3):286-94, 2002.

Moylett, E.H., Pacheco, S.E., Brown-Elliott, B.A., Perry, T.R., Buescher, S., Birmingham, M.C.,
et.al: Clinical Experience with Linezolid for the Treatment of Nocardia Infection. Clin. Infect.
Dis. 36:313-318, 2003.

Mellins, C.A., Smith, R., O’Driscoll, P., Magder, L.S., Brouwers, P., et.al: For the NIH NIAID/
NICHD/ NIDA-Sponsored Women and Infant Transmission Study group (Shearer, W.T.,
Pacheco, S.E., Cooper, N.J. Members): High rates of behavioral problems in perinatally HIV-
infected children are not linked to HIV disease. 111:384-393, 2003.

La Monte, A.C., Paul, M.E., Read, J.S., Frederick, M.M., Erdman, D.D., Han, L.L., Anderson,
L.J.: Women and Infants Transmission Study (Shearer, W.T., Pacheco, S.E., Cooper, N.
Members). Persistent parvovirus B19 infection without the development of chronic anemia in
HIV-infected and -uninfected children: Women and Infants Transmission Study. J. Infect.
Dis.189:847-851, 2004.

Pacheco, S.E., Gottschalk, S.M., Gresik, M.V., Dishop, M.K., Okmaura, T., McCormick, T.G.:
Chronic active Epstein-Barr virus infection of natural killer cells presenting as severe skin
reaction to mosquito bites. J. Allergy Clin. Immunol. 116(2):470-472, 2005.

Hershow, R.C., O’Driscoll, P.T., Handelsman, E., Pitt, J., Hillyer, G., Serchuck, L., Lu, M.,
Chen, K.T., Yaweta, S., Pacheco, S.E., Davenny, K., Adenyl-Jones, S., Thomas, D.L.:
Hepatitis C virus co-infection and HIV load, CD4+ cell percentage, and clinical progression to
AIDS or death among HIV infected women: Women and Infants Transmission Study. Clin.
Infect. Dis. 40(6):859-867, 2005.

Pacheco, S.E., McIntosh, K., Lu, M., Mofenson, L.M., Diaz, C., Foca, M., Frederick, M.,
Handelsman, E., Hayani, K., Shearer, W.T.: Effect of Perinatal Antiretroviral Drug Exposure on
Hematologic values in HIV-Uninfected Children: An Analysis of the Women and Infants
Transmission Study. J. Infect. Dis. 194(8):1089-1097, 2006.

Liu, Y., Zhu, L., Fatheree, N.Y., Liu, X., Pacheco, S.E., Tatevian, N., Rhoads, J.M.: Changes
in Intestinal Toll-like Receptors and Cytokines Precede Histological Injury in a Rat Model of
Necrotizing Enterocolitis. Am. J. Physiol. Gastrointest. Liver Physiol. 297(3):G442-450, 2009.

Moody, S., Pacheco, S.E., Butler, I.J., Koenig, M.K.: Secondary Erythromelalgia Successfully
Treated with Intravenous Immunoglobulin. J. Child Neurol., 27(7):922-3, 2011.

Mosquera, R.A., Hashmi, S.S., Pacheco, S.E., Reverdin, A., Chevallier, J., Colasurdo, G.N.:
Dysanaptic growth of lung airway in children with Post-infectious Bronchiolitis Obliterans. Clin.
Respir. J. 8:63-71, 2014.

Mosquera, R.A., Stark, J.M., Atkins, C., Colasurdo, G.N., Chevallier, J., Samuels, C.L.,
Pacheco, S.E.: Experimental Lung Research Manuscript ID: 859334 Manuscript Title:
                                            13
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  Functional and immune response to Respiratory Syncytial Virus infection in aged BALB/c mice:
  a search for genes determining disease severity. Exp. Lung Res. 40(1):40-49, 2014.

   Mosquera, R.A., Koenig, M.K., Adejumo, R.B., Chevallier, J., Hashmi, S., Mitchell, S.,
   Pacheco, S.E., Jon, C.: Sleep Disordered Breathing in Children with Mitochondrial Disease.
   Pulm. Med. 467576:1-8, 2014.

   Mosquera, R.A., Elenir, B.C., Avritscher, E., Elenir, B.C., Samuels, C.L., Harris, T.S., Pedroza
   C., Evans, P., Navarro, F., Wootton, S.H., Pacheco, S.E., Clifton, G., Moody, S., Franzini, L.,
   Zupancic, J., Tyson, J.E.: Effect of an Enhanced Medical Home on Serious Illness and Cost of
   Care Among High-Risk Children With Chronic Illness: A Randomized Clinical Trial. JAMA.
   312(24):2640-2648, 2014.

   Council on Environmental Health: Global Climate Change and Children’s Health. Council on
   Environmental Health. Am. Academy Pediatrics. 136(5)992-997, 2015.

   Ahdoot, S., Pacheco, S.E.: Global Climate Change and Children’s Health. Council on
   Environmental Health. Am. Academy Pediatrics. 136(5):e1468-84, 2015.


   Pacheco S.E., Tarasenko, T.N., Koenig M.K., Gomez-Rodriguez, J., Kapnick, S.M., Diaz, F.,
   Zerfas, P.M., Barca, E., Sudderth, J., DeBerardinis, R.J., Covian-Garcia, R., Balaban R.S.,
   DiMauro, S., McGuire, P. Cytochrome c oxidase (COX) activity is a metabolic checkpoint that
   regulates cell fate decisions during T-cell activation and differentiation. Cell Metab. 25
   (6):1254-1268, 2017.


   Pacheco S.E Periodic survey on Environmental health and climate change. Council on
   Environmental Health, American Academy of Pediatrics. Forthcoming, 2018.


C. Invited Articles and Commentaries

   Pacheco, S.E., Shearer, W.T.: Diagnosis and management of HIV infection in infants born to
   mothers with HIV. Neonatal Monitor. 12:5-7, 1996.

  Pacheco, S.E. Hurricane Harvey and climate change: the need for policy to protect children.
  Pediatr Res. 83(1-1):9-10. 2018. Invited commentary.




D. Chapters

  Pacheco, S.E., Shearer, W.T.: “Laboratory aspects of immunology”. Pediatric Clin. North Am.
  41:623-655. 1994.

   Pacheco, S.E. “Translation to Clinical Diagnostics”. Next Generation Sequencing. Lee-Jun C.
   Wong Editor. ISBN978 1-44614-7000-7. 2013.


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  Pacheco S.E. “Outdoor Air Pollution”. Pediatric Environmental Health. American Academy of
  Pediatrics. Ruth A. Etzel Editor. Forthcoming, 2017.

   Pacheco, S.E., Kline D., Cole, T. "Introducing Climate Change to Medical Students: A
   Humanities Approach" in Teaching Health Humanities. Edited by Olivia Banner, Nathan
   Carlin, and Thomas Cole, Oxford University Press, Forthcoming 2017.


E. Other Professional Communications

1. Presentations

   Local
  “Th1 and Th2 Responses”. Pediatric pulmonary fellow’s conference series. University of
  Texas, 2007.

  “Di George’s Syndrome”, Pediatric neonatology nurses conference. Children’s Memorial
  Hermann Hospital. 2007.

  “Anaphylaxis”. Pediatric nurses conference. Children’s Memorial Hermann Hospital. 2008

  “Reviewing a Scientific Paper”. University of Texas, Pediatric pulmonary fellow’s conference
  series. 2007.

  “Pediatric Cases in Pulmonary and Immunology”. University of Texas, Pediatric Grand
  Rounds, 2007.

  “An Allergist/Immunologist at UT?” University of Texas, Pediatric Grand Rounds, 2007.

  “The Patient with Primary Immunodeficiency: The Pediatric Oncologist Perspective”. MD
  Anderson Hospital Grand Rounds, 2008.

  “Ike, Global Warming and Children: A population at risk”. University of Texas, Pediatrics Grand
  Rounds, 2008.

  “Climate Change, Health and Vulnerable Populations”. UT Medical School Global Health
  Concentration conference series. University of Texas, 2011.

   “Climate Change and Air Pollution: Who Protects Our Children’s Lungs?” University of Texas,
   Pediatrics Grand Rounds, 2011.

    “Climate Change, Health and Vulnerable Populations”. UT Medical School Global Health
    Concentration conference series. University of Texas. 2012.

  “Climate Change and Respiratory Diseases”. University of Texas, Pediatrics Grand Rounds,
  2012.

   “DiGeorge’s syndrome”. University of Texas, Division of Cardiology. 2012.

  “DiGeorge’s Syndrome: Update & Clinical Management”. University of Texas, Pediatrics Grand
  Rounds, 2013.
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“Immune Evaluation of the Pediatric Patient”. University of Texas, Comprehensive Care Clinic,
2013.

Severe Combined Immunodeficiency Newborn Screening. University of Texas, Division of
Neonatology, 2013.

 “Climate Change in Medical Education” University of Texas Medical Education Journal Club.
 2014. Presenter.

“Climate change and health: The authority of the scientific community”. University of Texas, UT
Medical Global Health Concentration conference series. Houston, TX, 2015.

“Climate Change and Health” Expert panelist. Sponsored by the Student Environmental
Group Rice University. Houston TX, 2016. Panelist.

“Asthma care at UT: Where we are and where are we going. University of Texas, Pediatric
Grand Rounds, 2016.

“Women in Medicine”. UT Medical School Student chapter of the American Medical Women’s
Association (AMWA). 2016. Presenter.

“Climate and Environmental Justice”. “Climate Reality Leadership Corps Training, Houston
Texas. (https://www.climaterealityproject.org/training) 2016. Panel moderator.

The Impact and Consequences of Climate Change to Human Being and Mother Earth. Forum
“Struggle against climate change: Realities and social actions (Rice University) Houston,
2017. Speaker

Regional
“Severe Combined Immunodeficiency: What’s new?” San Antonio Military Medical Center,
Pediatric Residency Program Grand Rounds. San Antonio, TX, 2012. Presenter.

“Climate Change and Lung Disease”. American Lung Association Asthma Educators Course,
League City, TX, 2015. Keynote speaker.

“Factors Contributing to Asthma Exacerbations”. American Lung Association Asthma
Educators Course. League City, TX, 2015. Presenter.

Public Health and Climate Change in Texas”. Roundtable with Christy Goldfuss, (Director of the
White House Council on Environmental Quality). Steve Adler (Austin major) and other public
health leaders to discuss adaptation and mitigation strategies to cope with climate change in
Texas. Invited expert on climate change in human health. Austin, TX, 2015.

Public Hearings for the 2014 EPA’s Proposal to Update the 2008 Air Quality Standards for
Ground-level Ozone”. Invited by the American Lung Association Gulf Coast chapter and US
Mothers for Clean Air to provide evidence on the need to implement stricter guidelines for
ozone control in the US. Arlington, TX, 2015.

“Global Warming Solutions: How the Clean Power Plan will Help Texas”. Green Building
Resource Center, 2016. Speaker.
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“How – and why – Moms can make a difference in protecting the health of our children”. Panel
discussion. Moms Clean Air Force and “Conserve America, Earth Day Texas. Dallas, Texas.
2016. Panelist.


National presentations
“Update on HIV Vaccines”. University of Puerto Rico School of Medicine, San Juan, Puerto
Rico 1999. Presenter.

“Antigen Specific Antibody Deficiency”. Breakfast Seminar. American Academy of Allergy,
Asthma, and Immunology. Annual meeting. San Diego, CA. 2000. Presenter.

“Antigen Specific Antibody Deficiency”. Breakfast Seminar. American Academy of Allergy,
Asthma, and Immunology. Annual meeting. New Orleans, LA. 2001. Presenter.

“Antigen Specific Antibody Deficiency”. Breakfast Seminar. American Academy of Allergy,
Asthma, and Immunology.58th Annual meeting. New York, NY. 2002. Presenter.

 “Update on HIV Vaccines”
 “Work up for a patient with suspected immunodeficiency”
 “Facts and controversial issues in allergy treatment”.
 Pediatric Society of Puerto Rico. San Juan, PR. 2003. Presenter.

“Use and Abuse of Antihistaminics”
“Bone Marrow Transplantation in Primary Immunodeficiency”
Pediatric Society of Puerto Rico Annual meeting . San Juan, PR. 2005. Presenter.

“ Immune evaluation of patients with primary immunodeficiency” . Pediatrics residency
  program. University Pediatric Hospital. San Juan, PR. 2006. Presenter.

“Update in Primary Immunodeficiency Diseases”
 59th Excellence in Pediatrics Meeting. San Juan, PR, 2012.
Presenter and pediatric residents abstract juror.

“ Adverse effects of Climate Change for the Southeast US”. National Climate Assessment
Health Sector Workshop. Charleston, SC. 2012. Presenter.

“The Immunology of Mitochondrial Disease”. United Mitochondrial Disease Foundation
National Meeting. Washington, DC, 2012. Presenter.

“Climate change and respiratory health”. Mothers Clean Air Force Miami Town Hall. Miami, FL,
2014. Presenter.

American Lung Association Hispanic spokesperson for the Environmental Protection Agency
Clean Power Plan release. Houston, TX. 2015.

“Volviendo a mis raices”. Training on Climate change and the Latino community. Sachamama
and Climate Reality Project. Houston, Texas. 2015. Presenter.


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   “Volviendo a mis raices”. Training on Climate change and the Latino community. Sachamama
   and Climate Reality Project. Los Angeles, California. 2015. Presenter.

   “Children in a Changing World: The silent victims of Climate Change. Woman’s world and
   Climate Action Network (WECAN). Webinar.
   (https://wecaninternational.wordpress.com/tag/susan-e-pacheco/) 2015. Presenter.

   “Understanding the Connection Between Climate Change and Asthma: Building a Sense of
   Urgency”. Massachusetts Asthma Action Partnership”. Boston, MA. 2016. Keynote speaker:

   “Climate change: A look at the impact on Latinos” . National Association of Latino Elected and
   Appointed Officials (NALEO) NALEO 33rd Annual Conference. Washington, DC. 2016.
   Presenter.

   Communicating the Climate-Health Connection, Climate and Health. Presenter. Atlanta, GA,
   2017.

   “Climate change and Human Health”. Presentation for the University of Puerto Rico Medical
   Society. 2018

   Union of Concerned Scientists Teleconference: “Scientists, Policy Experts, Environmental
   Justice Leaders Discuss Hurricane Harvey”. Role: Presenter. 2017

   “Climate Change and Infectious Diseases: A pediatricians perspective” for the 2018 National
   meeting of the American Academy of Pediatrics. Role: Presenter. Forthcoming.

   ”Climate change and Children’s Health” for the 2018 Pediatric Academic Society meeting.
   Role: Presenter. Forthcoming.



   International presentations

   “Milk Protein Allergy” Hospital General de Occidente. Centro Médico Nacional de Occidente
   IMSS. Guadalajara, Mexico. 2005. Presenter.

   “Update in Primary Immunodeficiencies”. Presenter.
   “Severe Combined Immunodeficiency and the Newborn Screening”. Presenter.
   “Use of Immunomodulators in the Pediatric Population”. Round table.
   First international Congress of Pediatrics. Toluca, Mexico, 2012.

   “Children in a Changing World: The Silent Victims of Climate Change” . Presenter.
   “Use and abuse of long acting bronchodilators”. Round table.
   Second International Congress of Pediatrics. Toluca, Mexico. 2013.

    “Climate Change and Human Health”. Climate Conference, Academic Sector. University of
    Peru at Lima, Peru. 2014. Presenter.


2. Letters to the Editor

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   “Our children need clean air”. Open letter to the editor. (Houston Chronicle).
   (http://www.chron.com/opinion/outlook/article/Pacheco-Our-children-need-cleaner-air-
   6342627.php}. 2015.

  “No longer any debate over climate change”. Open letter to the editor (Houston Chronicle),
  2015. ( http://www.chron.com/opinion/outlook/article/Pacheco-6427238.php). 2015.

   “Medio ambiente: Una medida para combatir el asma infantil”. Open letter to the editor,
    (Diario La Opinion). 2016. (https://laopinion.com/2016/04/29/medio-ambiente-una-medida-
   para-combatir-el-asma-infantil/)

   “Let’s face it: There is a human cost to climate change”. Open letter to the editor (Houston
   Chronicle) (http://www.houstonchronicle.com/opinion/outlook/article/Pacheco-Let-s-face-it-
   There-s-a-human-cost-to-9156241.php)



3. Interviews:

   “Understanding Climate Change”. University of Puerto Rico Radio Station. San Juan, PR.
   2007.

  “Facing the Consequences of Climate Change in Puerto Rico”. Univisión, Channel 2. San
  Juan, PR. 2007.

   “Hot Air” The Effects of ‘Climate Change’ on our Children’s Lungs”
   (https://www.uthealthleader.org/story/hot-air). Houston, TX. 2011.

   “Need to take action against climate change”. El Vocero Newspaper. San Juan, PR. 2012.

   “Understanding the American Lung Association Report on the Burden of Asthma in Hispanics”.
   Latina Voices-Smart Talk”. Houston, TX, 2012.

   “Global Moms in Action: Dr. Susan E. Pacheco Protecting Children and Families”. Global
   Mom’s Challenge Spotlight. (http://www.globalmomschallenge.org/2015/07/global-moms-
   action-dr-susan-e-pacheco-protecting-children-families/). 2014.


   “Heal the Planet with Climate Reality Leader Susan Pacheco. Climate Reality Project
   Spotlight. (https://www.climaterealityproject.org/blog/heal-planet-climate-reality-leader-susan
                 pacheco). 2016.

   “Inspired by Al Gore, Houston pediatrician strives for climate awareness”
   (http://texasclimatenews.org/?p=12672). 2016.

   “The Clean Power Plan” Univision. 2015



4. Other

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Institutional Review Board, Baylor College of Medicine, Houston, TX. 2002-2005.

Bio Ethics Committee, Department of Pediatrics, Texas Children’s Hospital
Baylor College of Medicine, Houston, TX. 2004 – 2005.

“Metabolism, Infection and Immunity in patients with mitochondrial disease and inborn errors
 of metabolism”. National Human Genome Research Intitule (NUGRI), NIH, Bethesda,
 Maryland. PI: Dr. Peter McGuire). Associate investigator and consultant immunologist.
 2014 – present.

“Immunomodulatory effect of IVIG in the neurological status of children with primary
mitochondrial disease”. National Human Genome Research Intitule (NUGRI), NIH, Bethesda,
Maryland. PI: Dr. Peter McGuire). Associate investigator. 2016.




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                 EXHIBIT B: CURRICULUM VITAE

                  JEROME A. PAULSON, MD, FAAP




                             Exhibit B 1
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1) Personal Data

       Name                          Jerome A. Paulson
       Home address, telephone       1113 N Howard St
                                     Alexandria, VA 22304-1627
                                     703-461-7683
       Office telephone              202-471-4891
       Fax number                    NA
       e-mail address                jpaulson@childrensnational.org
       Place of birth                Baltimore, MD
       Citizenship                   US

2) Education

       a) Undergraduate Education
University of Maryland
College of Arts & Sciences
College Park, MD 20742
1967-1971
BS in Biochemistry with Honors and with General Honors

      b) Medical Education
Duke University
Durham, NC 27710
MD Degree
1971-1974

        c) Post-Graduate Training (Internship, Residency, Fellowship)
Johns Hopkins Hospital
Baltimore, Maryland 21205
Pediatrics PGY1 and PGY2
1974-1976

Sinai Hospital
Baltimore, MD 21209
Pediatrics PGY3 – 1976-1977
Fellowship, Ambulatory Pediatrics – 1977-1978

3) Employment

02/2015 – present
Principal, EnviroHealthDoctor
Consultant in Environmental Health

01/2012 to 01/2015


Jerome A. Paulson, MD                                                                    1
                                         Exhibit B 2
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Professor of Environmental & Occupational Health
George Washington University School of Public Health & Health Policy

11/2011 to 01/2015
Professor of Pediatrics
George Washington University School of Medicine and Health Sciences

09/2010 to 01/2015
Director, Mid-Atlantic Center for Children’s Health & the Environment
Washington, DC

08/2009 to 09/2013
Director, Environmental Health Track
George Washington University School of Medicine and Health Sciences

08/2008 to 01/2015
Medical Director for National & Global Affairs
Child Health Advocacy Institute
Children’s National Health System

08/2003 to 01/2012
Associate Research Professor
Department of Environmental & Occupational Health
School of Public Health & Health Services
George Washington University
Washington, DC

07/2002 – 07/2004
Medical Advisor, Children’s Environmental Health Network
Washington, DC

10/2002 to 08/2008
Pediatrician, Children’s Pediatricians & Associates
Washington, DC

10/2000 to 09/2010
Co-Director, Mid-Atlantic Center for Children’s Health & the Environment
Washington, DC

07/2000 to 06/2001 & 10/2001 to 09/2002
Soros Advocacy Fellow (1/2 time)
Based at Children’s Environmental Health Network
Washington, DC

07/1999 to 06/2000


Jerome A. Paulson, MD                                                                     2
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Partial leave of absence
Served as Special Assistant to the Director
National Center on Environmental Health, Centers for Disease Control & Prevention
US Department of Health & Human Services
Washington, DC

07/1997 to 07/2003
Associate Professor
07/2003 to 2011
Associate Research Professor
Department of Prevention & Community Health
School of Public Health & Health Services
George Washington University
Washington, DC

06/1991 to 06/2000
Fellow, Center for Health Policy Research
George Washington University
Washington, DC

07/1990 to 07/2003
Associate Professor
Department of Pediatrics
School of Medicine & Health Sciences
George Washington University
Washington, DC

07/1990 to 09/2002
Associate Professor
Department of Medicine (Department of Health Care Sciences prior to 06/1999)
School of Medicine & Health Sciences
George Washington University
Washington, DC

07/1990 to 09/2002
Pediatrician
George Washington University
Washington, DC

08/1989 to 06/1990
Executive Director, Research!America
Alexandria, Virginia

12/1987 to 07/1989
Director of Pediatrics


Jerome A. Paulson, MD                                                                       3
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Regional Institute for Children & Adolescents
Rockville, Maryland

05/1987 to 07/2000
Clinical Associate Professor
Department of Pediatrics
School of Medicine Georgetown University
Washington, DC

11/1986 to 10/1987
Director of Scientific Research & Public Policy Development
Joseph P. Kennedy, Jr. Foundation
Washington, DC

09/1986 to 10/1986
Consultant, Office on Smoking and Health
U.S. Public Health Service
Rockville, Maryland

08/1985 to 08/1986 – Sabbatical Year
Robert Wood Johnson Health Policy Fellow
Office of Congressman Fortney Stark
Chairman, Health Subcommittee
Ways and Means Committee
US House of Representatives
Washington, DC

01/1984 to 08/1985
Chief, Division of General Pediatrics
Rainbow Babies and Children's Hospital
Cleveland, Ohio

07/1983 to 08/1985
Medical Director, Pediatric Family Clinic
School of Medicine
Case Western Reserve University
Cleveland, Ohio

07/1981 to 08/1985
Medical Director, Rainbow Ambulatory Practice
Rainbow Babies and Children's Hospital
Cleveland, Ohio

07/1980 to 08/1985
Medical Director, High Risk Infant Project


Jerome A. Paulson, MD                                                                       4
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Rainbow Ambulatory Practice and Rainbow Babies and Children's Hospital
Cleveland, Ohio


07/1980 to 08/1986
Visiting Assistant Pediatrician
Department of Pediatrics
Cleveland Metropolitan General Hospital, Highland View Hospital (Cuyahoga County Hospital)
Cleveland, Ohio

07/1978 to 06/1984
Supervising Pediatrician
Red Team Practice
Rainbow Babies and Children's Hospital
Cleveland, Ohio

07/1978 to 08/1986
Assistant Pediatrician
Rainbow Babies and Children's Hospital
Cleveland, Ohio

07/1978 to 08/1986
Assistant Professor
Department of Pediatrics
School of Medicine
Case Western Reserve University
Cleveland, Ohio

4) Professional Registrations, Licenses, Certifications

1987 to 2014
Licensed, District of Columbia - MD16347

1987 to 1994
Licensed, State of Virginia – 0101041814

1978 to 1986
Licensed, State of Ohio - 42040

1978
Certified, American Board of Pediatrics -23040

1976
Certified, National Board of Medical Examiners - 146944




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1976 to 1991
Licensed, State of Maryland - D19766



5) Societies and Honors

2017 – Carol Strobel Memorial Award for Children’s Environmental Health Advocacy,
Children’s Environmental Health Network

2017 – John Rosen Memorial Lecture, Montefiore Medical Center, Albert Einstein College of
Medicine

2017 – Founding member, Virginia Clinicians for Climate Action

2015 – Named Emeritus Professor of Pediatrics, George Washington University School of
Medicine and Health Sciences

2015 – Named Emeritus Professor of Environmental & Occupational Health, George
Washington University Milken Institute School of Public Health

2014 – Elected a Fellow of the Collegium Ramazzini

2014 – National Healthy Schools Hero Award, Healthy Schools Network

2013 - 11th Annual George J. Ginandes, M.D. Visiting Lectureship in Pediatrics, Mount Sinai
School of Medicine, New York, NY

2011 – Elected to the American Pediatric Society

2000-2001, 2001-2 – Soros Advocacy Fellowship

1999 - 2001 - Medical Society of the District of Columbia

1998–present – Who’s Who in America, Marquis Publishing

1997–present – Who’s Who in Health & Medicine, First (and subsequent) Edition, Marquis
Publishing Co,

1997 – Award for service, dedication and commitment to George Washington University
Hospital

1993–1999 – Packard Roundtable for Children, the Center for the Future of Children of the
David & Lucile Packard Foundation and the Center for Health Policy Research of the George
Washington University


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1990–Present – Member, Physicians for Social Responsibility
      1996–1999 – Member, Violence Committee
      1999–2007 – Member, Environmental Health Committee

1989–1990 – Member, Virginia Chapter, American Academy of Pediatrics
1989 – Certificate of Appreciation, Regional Institute for Children and Adolescents, Rockville,
Maryland

1987–Present – Member, Washington, DC Chapter, American Academy of Pediatrics
      1988–1989 – Chairman, Government Affairs Committee
      1992–1994 – Chairman, Injury & Poison Prevention Committee

1985–1986 – Robert Wood Johnson Health Policy Fellowship

1985 – Certificate from Ohio State Senate for Educational and Public Policy Contribution

1985 – Certificate from Ohio House of Representatives for Educational and Public Policy
Contribution

1984 – Citation from Cleveland City Council for activities in motor vehicle safety

1983 – Certification of Appreciation, American Academy of Pediatrics for Serving as First
Ride/Safe Ride Coordinator

1982 & 1984 – Certificate of Appreciation, National Safety Town Center, Cleveland, Ohio

1981–1987 – Member, National Passenger Safety Association

1979–1987 – Member, American Association for Automotive Medicine

1978–1987 – Member, Ohio Chapter, American Academy of Pediatrics
      1980–1985 – Chairman, Accident Prevention Committee

1978–1987 – Member, Physicians for Automotive Safety

1978–1986 – Member, Northern Ohio Pediatric Society

1978 – Certificate of Appreciation, Martin Luther King, Jr. Elementary School, Baltimore,
Maryland

1977–Present – Member, Academic (Ambulatory) Pediatric Association
      1980–1990 – Member, Committee on Public Policy
              1983–1986 – Chairman, Committee on Public Policy
      1986–Present – Member, Injury Interest Group


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       2000–Present – Member, Environmental Health Interest Group
             2005–2010 – Co-Chair of Environmental Health Interest Group

1976–Present – American Academy of Pediatrics (119705)
      1976–1979 – Candidate Member
      1979–Present – Fellow
      1987–1992 – Member, Council on Government Affairs
              1987–1988 – Chairman, Subcommittee on Election '88
      1991–Present – Member, Section on Injury and Poison Prevention
      1992 – Member, Ad Hoc Task Force to review the oncogenic potential of Vitamin K
      2003–Present – Member, Council (formerly Nexus) on Environmental Health
      2007–2015 - Member, Executive Committee of the Council on Environmental Health
              07/2011–06/2015 Chairperson, Executive Committee of the Council on
              Environmental Health

1971 – Graduated from University of Maryland, College Park, Maryland with Honors and
General Honors

1971 – Sklar Award, University of Maryland General Honors Program

6) Administrative Duties & University Activities

       a) Departmental
              Department of Health Care Sciences, GWUSMHS
                     1991 – 1994 Member, Appointment Promotion & Tenure Committee,
                             1992 – 1994 Chair of Committee
       b) SMHS/SPHHS
              2008 – 2009 Member, Committee to Recruit Chair of Department of
              Environmental & Occupational Health, GWUSPHHS
       c) University
              2010 – Present Member, Steering Committee, Sustainability Institute, GWU
              2010 – 2012 Member, Steering Committee, GW Collaborating Committee for
              Global Health & Development
              2010 – 2010 Member Collaborative Working Group on Factors Impacting the
              Success of English Language Learners
              2010 – 2012 Member Steering Committee, GW ACCESS Institute (Advancing
             Cross-disciplining Collaboration for English language Learner’s School Success)

7) Educational Achievements.
     a) Courses Taught
   • Summer 2001 Introduction to Children’s Health & The Environment
     (PubH 290 – 25), Course director, 1 credit Topics Course
   • Summer 2002 Introduction to Children’s Health of the Environment
     (PubH 290 – 25), Course director, 1 credit Topics Course



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   •    Spring 2005 Introduction to Children’s Health of the Environment
        (PubH 290 – 48), Course director, 2 credit course
   •    Fall 2005 Policy Issues Related to Children’s Health & the Environment
        (PubH 290 – 22), Course director, 2 credit course
   •    Summer 2006 Environmental & Occupational Health (Core course for all MPH students)
        (PubH 204 – 11). Course director, 2 credit course
   •    Spring 2007, Introduction to Children’s Health of the Environment
        (PubH 290 – 48), Course director, 2 credit course
   •    Fall 2007, Policy Issues Related to Children’s Health & the Environment
        (PubH 290 – 48), Course director, 2 credit course
   •    Spring 2009, Introduction to Children’s Health of the Environment
        (PubH 225 – 10), Course director, 2 credit course
   •    Spring 2010, Introduction to Children’s Health of the Environment
        (PubH 225 – 10), Course director, 2 credit course
   •    Summer 2010, Child Health Advocacy (PubH 6399) Course Director
        Tasmeen Weik, Department of Health Policy, My portion: Environmental toxins (1hr);
        Climate Change (1hr)
   •    Summer 2011, Child Health Advocacy (PubH 6399) Course Directors
        Tasmeen Weik & Chaya Merrill, Department of Health Policy, My portion:
        Environmental toxins (1hr); Climate Change (1hr)
   •    Fall 2011, Introduction to Children’s Health of the Environment
        (PubH 6125), Course director, 2 credit course
   •    Fall 2012, Introduction to Children’s Health of the Environment
        (PubH 6125), Course director, 2 credit course
   •    Fall 2013, Introduction to Children’s Health of the Environment
        (PubH 6125), Course director, 2 credit course
   •    Fall 2014, Introduction to Children’s Health of the Environment
        (PubH 6125), Course director, 2 credit course

        b) New Courses or Programs Developed
   •    Introduction to Children’s Health & the Environment
        See above. Developed initially as a Topics course. Subsequently evolved into 2 separate
        2-credit courses and now exists as a single 2-credit course.
   •    Environmental Health Track, GWUSMHS

        c) Students or post-doctoral fellows for whom I served as primary advisor
   •    Alyson Follenius, MPH candidate, Department of Environmental & Occupational Health,
        GWSPHHS, Special Project – Lead Poisoning in Children
        2007 – 2008
   •    Timothy Otten, MPH candidate, Dept EOH, GWSPHHS, Speech Project – Is Nitrite
        Exposure or Health Risk in Chlorinated Drinking Water? An Investigation of Water
        Quality in Childcare Centers in the District of Columbia – 2007




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   •    Kathryn Marshall, MPH candidate, Dept EOH, GWSPHS, Special Project, Understanding
        Asthma: A Needs Assessment for District of Columbia Residents
        Age 18 – 29 years old. 2008 – 2009
   •    Alison Wilson, MPH candidate, Department of Environmental and Occupational Health,
        GWSPHHS, Special Project.
        An educational Environmental Health Intervention to Enhance Physician Capability to
        Address Environmental Health Concerns 2008 – 2009
   •    Camille Gray, MPH candidate, DEOH, GWSPHHS, Culminating Experience, Needs
        Assessments of School Nurses Regarding Children’s Environmental Health 2010 - 2012

        d) Educational Awards
        None

        e) Student or participant evaluations
        None available

8) Consultant Appointments
   • Visiting Professorship
      October 2004 – Dozor Fellow – Visiting Professor, Ben
      Gurion University, Beer Sheva Israel

   •    Paid consulting
        2000 – present Multiple law firms on the topic of childhood lead poisoning
        2011 Ashcraft & Gerel, LLP on the topic possible child health effects of shale gas
        recovery and hydraulic fracturing
        2012 – 2014 Sullivan, Ward, Asher & Patton, P.C. on flame retardant chemicals
        2014 – present American Academy of Pediatrics, to serve as medical director of the
        PEHSU-East Program
        2015 Natural Resources Defense Council
        2015 – 2016 Healthy Schools Network
        2015 – 2016 Clean Air Council, Philadelphia, PA

9) Grants Awarded or Pending

   •    1982 – Adolescent Weight Control Program. Northeast Ohio Affiliate American Heart
        Association. $14,000 (TDC)

   •    1982 – Residency Training in General Pediatrics. U.S. Department of Health & Human
        Services. $105,000 TDC for sixth year continuation. Assistant Project Director

   •    1982-84 – Seat Restraint Contamination Study. Several small grants from Gerber
        Products Co., Questor Juvenile Furniture Co., International Manufacturing Co. $6,000
        (TDC)




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   •    1985 – Robert Wood Johnson Health Policy Fellowship. Robert Wood Johnson
        Foundation. $43,276 (TDC)

   •    1991-1994 – Child Health Supervision. Maternal and Child Health Bureau, Health
        Resources and Services Administration, Medicaid Bureau of the Health Care Financing
        Administration (MCJ-117023). (TDC unknown)

   •    1996 – 1997 – Consortia Development for Health Professions Training in Community-
        Based Settings. Health Resources and Services Administration. Delivery Order No. 240-
        96-0702. Principal Investigator, George Washington University Center for Health Policy
        Research. (TDC unknown.)

   •    1996 – 1998 – What Constitutes "Appropriate" Use of EMSC in Managed Care.
        Emergency Medical Services for Children, Maternal and Child Health Bureau, Health
        Resources and Services Administration. 1 MCH-114004-01-0. George Washington
        University Center for Health Policy Research. (TDC unknown.)

   •    07/2000 to 06/2001 & 10/2001 to 09/2002 – Soros Advocacy Fellowship. Open Society
        Institute, Soros Foundation. 50% salary support. (TDC unknown)

   •    2000 – 2002 – Development of Primary Care Research Training Program. Health
        Resources and Services Administration. (TDC unknown)

   •    2000 – 2015 – Pediatric Environmental Health Specialty Unit. Association of
        Occupational & Environmental Clinics. Co-PI or PI. TDC variable.

10) Publications

a) Papers in Refereed Journals

   1. Paulson JA, The Case for Mandatory Seat Restraint Laws. Clinical Pediatrics, 1981; 20:
      285-290
   2. Paulson JA, Injury prevention in children. Journal of Family Practice, 1981: 13; 123-
      124
   3. Paulson JA, Thomas L. Case Studies in Bioethics: Should States Require Child
      Passenger Protection? Hastings Center Report, 1981; 11: 21-22. Reprinted in Cases in
      Bioethics from the Hastings Center Report. C. Levine and R. M. Veatch (eds.). Institute
      of Society, Ethics and the Life Sciences Hastings-on-Hudson, NY 1982, pp. 109-110
   4. Paulson JA, Injury Prevention in Children. Journal of Family Practice, 1981; 13: 123-
      124
   5. Paulson JA, Patient Education Pediatric Clinics of North America, 1981, 28: 627-691
   6. Paulson JA, Wellman S, Baby Walker Related Injuries. Clinical Pediatrics, 1984; 23:
      98-99
   7. Paulson JA, Seat Restraint Contamination and Cleaning. Pediatrics, 1986; 78: 113-114



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   8. Paulson JA, Rushforth NB. Violent Death in Children in a Metropolitan County:
       Changing Patterns of Homicide 1958-1982. Pediatrics, 1986; 78: 1013-1020
   9. Paulson JA. Epidemiology of Injuries in Adolescents. Pediatric Annals, 1988; 17: 84-96
   10. Paulson JA. Injuries: The Leading Cause of Death in Children. Current Opinion in
       Pediatrics, 1989; 1: 192-202
   11. Paulson JA. Injury Prevention. State of the Art Reviews: Adolescent Medicine, 1990; 1:
       97-112
   12. Christoffel KK, Scheidt PC, Agran PF, Kraus JF, McLoughlin E, Paulson JA.. Standard
       definitions for childhood injury research: excerpts of a conference report. Pediatrics,
       1992; 89: 1027-1034
   13. Vitamin K Ad Hoc Task Force (Merenstein GB, Hathaway WE, Miller RW, Paulson JA,
       Rowley DL). Controversies concerning vitamin K and the newborn. Pediatrics, 1993; 91:
       1001-1003.
   14. Paulson JA . Diguiseppi C, Adolescent Injury Prevention In Primary Care. State of the
       Art Reviews: Adolescent Medicine, 1995; 6: 215-231.
   15. Paulson JA, Jackson RJ, Sussman D. Expanding the physician's role in pediatric
       environmental health Journal of the Medical Association of Georgia 1999; 88: 13-17
   16. Paulson JA. Children's Environmental Health Policy and Advocacy. Pediatric Clinics of
       North America. 2001;48:1307-18
   17. McCurdy LE, Roberts J, Rogers B, Love R, Etzel R, Paulson J, Obot Witherspoon N,
       and Dearry A. Incorporating Environmental Health into Pediatric Medical and Nursing
       Education. Environmental Health Perspectives 2004; 112(17):1755-60
   18. Spernak SM, Mintz M, Paulson J, Burke HB, Gadkari M, Faselis C, Joseph JG..
       Neighborhood racial composition and availability of asthma drugs in retail pharmacies. J
       Asthma 2005; 42:731-355
   19. Lanphear BP, Paulson JA. Beirne S, Trials and Tribulations of Protecting Children from
       Environmental Hazards. Environmental Health Perspectives 2006.114:1609-1612
   20. Paulson JA. An Exploration of Ethical Issues in Research in Children’s Health and the
       Environment. Environmental Health Perspectives 2006.114:1603-1608
   21. Paulson JA, Arnesen S. The Use of the Internet for Children’s Environmental Health
       Pediatric Clinics of North America. 2007; 54: 135-54
   22. Ebi K, Paulson JA. Global Climate Change and Its Impact on Children. Pediatric Clinics
       of North America.2007; 54: 213-226
   23. Paulson JA, Karr CJ, Seltzer JM, Sheffield PE, Cifuentes E, Buka I, Amler RW.
       Development of the Pediatric Environmental Health Specialty Unit Network: The North
       American Experience Am J Public Health 2009; 99:S511–S516.
   24. Committee on Environmental Health. The Built Environment: Designing Communities to
       Promote Physical Activity in Children. Pediatrics. 2009; 123: 1591-1598
   25. Committee on Environmental Health, Committee on Substance Abuse, Committee on
       Adolescence, and Committee on Native American Child Health. Policy Statement –
       Tobacco Use: A Pediatric Disease Pediatrics. 2009; 124: 1474-1487.
   26. Best D. Committee on Environmental Health. Committee on Native American Child
       Health Committee on Adolescence. Technical report--Secondhand and prenatal tobacco
       smoke exposure. Pediatrics 2009; 124:e1017-44



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   27. Committee on Environmental Health and Committee on Infectious Diseases Rogan WJ.
       Brady MT. Drinking Water From Private Wells and Risks to Children. Pediatrics. 2009;
       123:1599-1605.
   28. Committee on Environmental Health. Tester JM. The built environment: designing
       communities to promote physical activity in children. Pediatrics. 2009; 123:1591-8
   29. Ebi, KL, and Paulson JA. Climate Change and Child Health in the United States. Current
       Problems in Pediatric & Adolescent Health Care. 2010; 40: 2-18.
   30. Paulson JA, Barnett C. Who’s In Charge of Children’s Environmental Health at
       Schools? New Solutions. 2010; 20: 3-23.
   31. Paulson JA. Gordon L. Clinical services in environmental pediatrics. Mount Sinai
       Journal of Medicine. 2011; 78:11-21
   32. Balk SJ. Council on Environmental Health. Section on Dermatology. Ultraviolet
       radiation: a hazard to children and adolescents. Pediatrics. 2011; 127(3):e791-817.
   33. Forman J, Silverstein J, AAP Committee on Nutrition and Council on Environmental
       Health. Clinical Report: Organic Foods: Health and Environmental Advantages and
       Disadvantages. Pediatrics 2012; 130:5 e1406-e1415
   34. AAP Council on Environmental Health. Policy Statement: Pesticide Exposure in
       Children. Pediatrics 2012; 130:6 e1757-e1763
   35. James R. Roberts, Catherine J. Karr, and AAP Council on Environmental Health.
       Technical Report: Pesticide Exposure in Children. Pediatrics 2012; 130:6 e1765-e1788
   36. Orenstein WA, Paulson JA, Brady MT, Cooper LZ, Seib K. Global Vaccination
       Recommendations and Thimerosal. Pediatrics. 2013; 131:149-151
   37. Rogan, WJ., Paulson, JA., Baum, C., et al., 2014. Iodine deficiency, pollutant chemicals,
       and the thyroid: new information on an old problem. Pediatrics, 133, 1163-1166.

   38. Tinney VA; Paulson JA; Bathgate SL; Larsen JW. 2015. Medical education for
       obstetricians and gynecologists should incorporate environmental health. American
       Journal of Obstetrics & Gynecology. 212:163-6.e1.
   39. Amoah AA, Witherspoon NO, Pérodin J, Paulson JA. 2015. Findings from a pilot
       environmental health intervention at early childhood centers in the District of Columbia. J
       Public Health doi:10.1093/pubmed/fdv135
   40. Paulson JA, Zaoutis TE, the Council on Environmental Health, the Committee on
       Infectious Diseases. 2015. Nontherapeutic Use of Antimicrobial Agents in Animal
       Agriculture: Implications for Pediatrics. Pediatrics 136, e1670-e1677
   41. Fisk, WJ, Paulson, JA, Kolbe, LJ, & Barnett, CL. 2016. Significance of the School
       Physical Environment–A Commentary. Journal of School Health, 86, 483-487.
   42. Paulson JA, Barnett CL. Public Health Stops at the School House Door. Environmental
       Health Perspectives. 124: A171-A175.
   43. Council on Environmental Health. 2016. Prevention of Childhood Lead Toxicity.
       Pediatrics, e20161493
   44. Tinney VA, Denton JM, Sciallo-Tyler L, Paulson JA. 2016. School Siting Near Industrial
       Chemical Facilities: Findings from the U.S. Chemical Safety Board’s Investigation of the
       West Fertilizer Explosion. Environ Health Perspect; 124:1493–1496




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b) Chapters in books

   1. Paulson JA. Accidents. Pediatrics Update Review for Physicians, 1979 Edition. A. J.
       Moss (ed.) Elsevier North Holland, NY, 1979, pp. 920-939.
   2. Paulson JA, Gordon IB, Mortimer E. Prophylactic Antibiotics. Antimicrobial Therapy,
       Third Edition. B. Kagen (ed.) W. B. Saunders, Philadelphia, PA, 1980, pp. 468-480.
   3. Paulson JA. Accidental Injuries. Nelson's Textbooks of Pediatrics. Twelfth Edition. R.
       E. Berhman and V. C. Vaughan (eds.) W. B. Saunders, Philadelphia, PA, 1983, pp. 261-
       263. Revised for Thirteenth Edition, 1987, pp. 211-213.
   4. Paulson JA. Mammalian Bites and Spider Bites. Nelson's Textbook of Pediatrics.
       Twelfth Edition. R. E. Berhman and V. C. Vaughan (eds.). W. B. Saunders, Philadelphia,
       PA, 1983, pp. 1808-1809. Revised for Thirteenth Edition, 1987, pp. 1514-1516.
   5. Paulson JA. Falls. Injury Control for Children and Youth. M. S. McIntire (ed.)
       American Academy of Pediatrics. Elk Grove Village, IL, 1987, pp. 215-219.
   6. Paulson JA. Firearm Injuries. Injury Control for Children and Youth. M. S. McIntire
       (ed.) American Academy of Pediatrics. Elk Grove Village, IL, 1987, pp. 136-144.
   7. Paulson JA. Animal and Human Bites and Bite Related Infections. Current Pediatric
       Therapy. Thirteenth Edition, S. S. Gellis and B. M. Kagen (eds.) W. B. Saunders,
       Philadelphia, PA, 1990, pp. 678 - 682.
   8. Paulson JA and Solloway M. A Twenty Year Retrospective of Child Health Supervision
       in Ambulatory Pediatric Settings. Child Health Supervision. Analytical Studies in the
       Financing, Delivery, and Cost-Effectiveness of Preventive and Health Promotion
       Services for Children. MR Solloway and PP Budetti (eds). George Washington
       University Center for Health Policy Research. Prepared for the Bureau of Maternal and
       Child Health, Health Resources and Services Administration, Department of Health and
       Human Services, 1994. Reprinted in: Solloway MR and Budetti PP (eds). Child Health
       Supervision: Analytical Studies in the Financing, Delivery, and Cost-Effectiveness of
       Preventive and Health Promotion Services for Infants, Children and Adolescents.
       Arlington, VA: National Center for Education in Maternal & Child Health. 1995.
   9. Pine BR, Paulson JA, and Solloway M. Environmental Health and Child Health
       Supervision: A Case Study of Childhood Lead Poisoning. Child Health Supervision.
       Analytical Studies in the Financing, Delivery, and Cost-Effectiveness of Preventive and
       Health Promotion Services for Children. MR Solloway and PP Budetti (eds). George
       Washington University Center for Health Policy Research. Prepared for the Bureau of
       Maternal and Child Health, Health Resources and Services Administration, Department
       of Health and Human Services, 1994. Reprinted in: Solloway MR and Budetti PP (eds).
       Child Health Supervision: Analytical Studies in the Financing, Delivery, and Cost-
       Effectiveness of Preventive and Health Promotion Services for Infants, Children and
       Adolescents. Arlington, VA: National Center for Education in Maternal and Child Health.
       1995.
   10. Paulson, JA. The Pediatrician as a Community Advocate. Injury Control for Children
       and Youth. M. D. Widome (ed.) American Academy of Pediatrics. Elk Grove Village,
       IL, 1997.




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   11. Paulson, JA. Resources for Children’s Environmental Health. Handbook on Children’s
       Environmental Health. R Etzel and S. Balk (eds). American Academy of Pediatrics. Elk
       Grove Village, IL, 2003
   12. Paulson, JA. Harvey C. Animal Safety in School. in Safe and Healthy School
       Environments. H Frumkin, R Geller, IL Rubin (eds.). Oxford University Press. NY, NY
       2006.
   13. Paulson, JA and Sandel M. Healthy Homes – The Role of Health Care Professionals. in
       Healthy and Safe Homes: Research, Practice, and Policy. R Morley, A Mickalide and
       KA Mack (eds) American Public Health Association Washington, DC. 2010.
   14. Paulson, JA. Environmental Toxicants and Neurocognitive Development. in Children
       with Disabilities, 7th Edition. ML Batshaw, NJ Roizen and GR Lotrecchiano. Paul Brooks
       Publishing, Baltimore, MD 2012
   15. Paulson JA. and Gordon L. The Environmental History and Examination. Key to
       Diagnosis of Environmental Disease. in Textbook of Children’s Environmental Health. P
       Landrigan and R Etzel (eds). Oxford University Press. London, UK. 2013.
   16. Paulson JA and Barnett C. Who’s In Charge of Children’s of Children’s Environmental
       Health in Schools. In The Toxic Schoolhouse. M K Scammell and C Levenstein (eds).
       Baywood Publishing Co, Inc. Amityville, NY 2014.
   17. Paulson, JA and V Tinney, Potential & Known Health Impacts Associated with
       Unconventional Natural Gas Extraction. In The Rush to Drill: The Human and
       Environmental Costs of Shale Gas Extraction. ML. Finkel (Ed). Praeger Press, 2015

d) Books

   1. Paulson, JA. Pediatrics: Review for New National Boards. J & S Publishing Co., Inc.
      Alexandria, VA. 2000

e) Abstracts

   1. Paulson JA, Avsec D, Gordon IB. The high risk infant project: The use of a perinatal
      coordinator to facilitate neonatal follow-up. Ambulatory Pediatric Association Abstracts,
      1981, pg. 78.
   2. Paulson JA. Infant seat restraint contamination. Ambulatory Pediatric Association
      Abstracts, 1984, pg. 132.
   3. Paulson JA. Injuries related to all-terrain vehicles. Ambulatory Pediatric Association
      Abstracts, 1985, pg. 105.
   4. Paulson JA, Rushforth NB. Violent Death in Children in a Metropolitan County:
      Changing patterns of Homicide 1958-1982. Ambulatory Pediatric Association Abstracts,
      1985, pg. 60. (Paper presented orally at APA meeting, Washington, D. C., May 9, 1985)
   5. Paulson JA, Rushforth NB. Violent Death in Children in a Metropolitan County:
      Homicide of Children Less than One Year of Age. AJDC, 1986; 140: 309 (Paper
      presented orally at APA meeting, Washington, D. C., May 8, 1986)
   6. Solloway MR, Paulson JA, Weiss KB, Moore T, Green H. Variations in ambulatory care
      for infants in the US. American Public Health Association 122nd Annual Meeting &



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        Exhibition, October 30 - November 3, 1994, Washington, DC, Public Health & Diversity,
        Opportunity for Equity, Abstract Volume, pg. 124, session 2037.

f) Invited Publications

   1. Paulson, JA. The State of Children’s Health & the Environment. Archives of
      Environmental and Occupational Health. 2007. 62: 53-57. DOI: 10.3200/AEOH.62.2.53-
      57

h) Book Reviews

   1. Paulson JA. Saving Children: A Guide to Injury Prevention. Wilson MH, Baker SP,
      Teret SP, and Garbarino J (eds). JAMA 1992; 268: 2441-2442.
   2. Paulson JA. Formative Years: Children’s Health in the United States 1880-2000. Stern
      AM, Markel H (eds) JAMA 2003; 289: 2725-2726.

i) Any Other Publications

   •    Monographs

        1. Paulson JA and Solloway M. A Twenty Year Retrospective of Child Health
           Supervision in Ambulatory Pediatric Settings. George Washington University Center
           for Health Policy Research. Prepared for the Bureau of Maternal and Child Health,
           Health Resources and Services Administration, Department of Health and Human
           Services, December, 1992.
        2. Pine BR, Paulson JA and Solloway M. Environmental Risk Factors and Child Health
           Supervision: Childhood Lead Poisoning. George Washington University Center for
           Health Policy Research. Prepared for the Bureau of Maternal and Child Health,
           Health Resources and Services Administration, Department of Health and Human
           Services, December, 1992.
        3. Shaw K, Paulson JA and DeGraw C. Consortium Development for Health
           professions Training in Community-Based Settings. Center for Health Policy
           Research, School of Public Health & Health Services, George Washington University
           Medical Center. Prepared for the Bureau of Health Professions, Health Resources and
           Services Administration, Department of Health and Human Services, September,
           1998.
        4. Paulson JA. Coxsackie Virus and Type I Diabetes Mellitus. Drinking Water
           Assessment. Department of Environmental & Occupational Health, School of Public
           Health & Health Services, George Washington University Medical Center. Prepared
           for the US Environmental Protection Agency, 1999.
        5. Embry M. Paulson, JA. Helicobacter pylori. Drinking Water Assessment.
           Department of Environmental & Occupational Health, School of Public Health &
           Health Services, George Washington University Medical Center. Prepared for the US
           Environmental Protection Agency, 1999.



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   •    Journals

   1. Gordon, IB; Paulson JA. (eds.) Pediatric Clinics of North America, Vol. 28, No. 3,
      "Issues for the Practicing Pediatrician." W. B. Saunders, NY, August, 1981.
   2. Paulson JA (ed) Pediatric Clinics of North America “Children’s Environmental Health”
      W. B. Saunders, Philadelphia, October, 2001.
   3. Paulson JA, Gitterman BG (eds.). Pediatric Clinics of North America “Children’s Health
      & the Environment: Part 1” W. B. Saunders, Philadelphia. February, 2007
   4. Paulson JA, Gitterman BG (eds.). Pediatric Clinics of North America “Children’s Health
      & the Environment, Part 2” W. B. Saunders, Philadelphia. April, 2007

   •    Proceedings

   1. Christoffel KK; Scheidt PC; Agran PF; Kraus JF; McLoughlin E; Paulson JA. Standard
      definitions for childhood injury research. Report of NICHD Conference March 20-21,
      1989. US Department of Health and Human Services, Public Health Service, National
      Institutes of Health, National Institute of Child Health and Human Development, NIH
      Publication No. 92-1586. January, 1992.

   •    Newspaper Editorial Articles

   1. Paulson JA. Ohio's Child Safety-Seat Law Would Curb Greatest Scourge. Cleveland
      Plain Dealer, July 16, 1981, pg. 25A.
   2. Mahowald M, Paulson JA. The Baby Does' Two Different Situations. Cleveland Plain
      Dealer, December 31, 1981, pg. 25A.
   3. Paulson JA. U. S. Car-Safety Ruling is Hard to Take Seriously. Cleveland Plain Dealer,
      July 18, 1984, pg. 25A.

11) Presentations

        a) Regional

   Date              Organization               Location              Title of Presentation
04-09-2002    Geisinger Medical Center     Danville, PA           Grand Rounds – An
              Department of Family                                Introduction to Children’s
              Medicine                                            Health & the Environment
05-17-2002    INOVA Alexandria             Alexandria, VA         Grand Rounds – An
              Hospital Department of                              Introduction to Children’s
              Pediatrics                                          Health & the Environment
05-20-2002    Pennsylvania State           Harrisburg, PA         The Use of the Internet for
              Department of Public                                Children’s Health & the
              Health                                              Environment
06-14-2002    West Virginia University     Charleston, WV         Grand Rounds – An
              Women’s & Children’s                                Introduction to Children’s
              Hospital                                            Health & the Environment


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08-13-2002   Montgomery County              Silver Spring, MD      What is a Pediatric
             Maryland, Department of                               Environmental Health
             Public Health                                         Specialty Unit?
08-28-2002   Montgomery Family              Norristown, PA         Grand Rounds – An
             Practice Residency                                    Introduction to Children’s
                                                                   Health & the Environment
09-23-2002   St Francis Hospital Family     Wilmington, DC         Grand Rounds – An
             Medicine Residency                                    Introduction to Children’s
                                                                   Health & the Environment
09-23-2002   Delaware State Department      Wilmington, DC         What is a Pediatric
             of Public Health                                      Environmental Health
                                                                   Specialty Unit?
09-26-2002   George Washington              Washington, DC         Environmental Antecedents
             University Department of                              of Adult Disease
             Internal Medicine
10-30-2002   Children’s Hospital of         Philadelphia, PA       Grand Rounds – An
             Philadelphia                                          Introduction to Children’s
                                                                   Health & the Environment
03-27-2003   Columbia Road Health           Washington, DC         Lead Poisoning in the 21st
             Services                                              Century
06-10-2003   Agency for Toxic               Philadelphia, PA       What is a Pediatric
             Substances & Disease                                  Environmental Health
             Registry Regional Meeting                             Specialty Unit?
10-08-2003   Jefferson Medical College      Philadelphia, PA       Grand Rounds – An
             Departments of Family                                 Introduction to Children’s
             Medicine & Pediatrics                                 Health & the Environment
10-15-2003   York Hospital Department       York, PA               Grand Rounds – An
             of Pediatrics                                         Introduction to Children’s
                                                                   Health & the Environment
11-06-2003   INOVA Fairfax,                 Fairfax, VA            Grand Rounds – An
             Department of Pediatrics                              Introduction to Children’s
                                                                   Health & the Environment
04-01-2004   Children’s National Medical Washington, DC            Professorial Rounds –
             Center                                                Carbon Monoxide
                                                                   Poisoning
05-11-2004   Departments of Pediatrics &    Pittsburgh, PA         Grand Rounds – An
             Family Medicine Mercy                                 Introduction to Children’s
             Children’s Medical Center                             Health & the Environment
05-17-2004   Altoona Family Medicine        Altoona, PA            Grand Rounds – Lead and
             Residency                                             Indoor Air Pollution
07-14-2004   Department of Pediatrics,      Philadelphia, PA       Grand Rounds – Lead
             Thomas Jefferson                                      Poisoning & Advocacy
             University
09-09-2004   INOVA Fairfax Hospital         Fairfax, VA            Grand Rounds – Lead
             Department of Pediatrics                              Poisoning in the 21st


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                                                                  Century
09-14-2004   Virginia Hospital Center      Arlington, VA          Grand Rounds – Lead
             Department of Pediatrics                             Poisoning in the 21st
                                                                  Century
11-18-2004   Altoona Family Medicine       Altoona, PA            Grand Rounds – Pesticides
             Residency                                            & Children’s Health
06-02-2005   Physicians for Social         Washington, DC         The Role of the Physician in
             Responsibility Student                               Environmental Activism
             Environmental Health
             Advocacy Conference
04-11-2005   Altoona Family Medicine       Altoona, PA            Resident Conference –
             Residency                                            Children’s Environmental
                                                                  Health in the Home
05-25-2005   Primary Care Track,           Washington, DC         Resident Conference – An
             Children’s National Medical                          Introduction to Children’s
             Center                                               Health & the Environment
08-04-2005   Maryland Department of        Baltimore, MD          Mercury in the School
             Health & Mental Hygiene                              Setting
08-04-2005   Maryland Department of        Baltimore, MD          Mold & Damp Buildings
             Health & Mental Hygiene
09-29-2005   The Mid-Atlantic Lead &       Philadelphia, PA       Mold & Damp Buildings
             Mold Conference
01-10-2006   Arlington Hospital Center,    Arlington, VA          Grand Rounds – Mold &
             Department of Pediatrics                             Damp Buildings
03-02-2006   York Hospital, Department     York, PA               Grand Rounds – Lead
             of Family Medicine                                   Poisoning
03-02-2006   Pennsylvania State            York, PA               An Introduction to
             Department of Health                                 Children’s Health & the
                                                                  Environment
05-10-2006   Arlington County Health       Arlington, VA          Mold & Damp Buildings
             Department
06-30-2006   Roanoke Memorial Hospital     Roanoke, VA            Mercury & Pesticide
                                                                  Toxicity in Children
08-17-2006   York Hospital Department      York, PA               Grand Rounds - An
             of Family Medicine                                   Introduction to Children’s
                                                                  Health & the Environment
05-15-2007   US EPA, Indoor                Washington, DC         Pediatric Environmental
             Environments Division,                               Health Specialty Units.
             Office of Air & Radiation
08-28-2007   EPA Regional                  Richmond, VA           An Introduction to
             Environmental Health                                 Children’s Health & the
             Meeting                                              Environment
08-13-2010   Department of Pediatrics      Huntington, WV         Grand Rounds –
             Joan C. Edwards School of                            Introduction to Children’s
             Medicine                                             Health & the Environment


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08-13-2010   Department of Pediatrics       Huntington, WV         Noon conference – Lead
             Joan C. Edwards School of                             Poisoning in the 21st
             Medicine                                              Century
09-17-2010   INOVA Alexandria               Alexandria, VA         Noon conference -
             Hospital Department of                                Environmental Tobacco
             Pediatrics                                            Smoke – Alexandria, VA
                                                                   No Smoking Pledge
10-05-2010 Albert Einstein Medical          Philadelphia, PA       Grand Rounds -
           Center Department of                                    Environmental Health in the
           Pediatrics                                              Home
10-05-2010 Albert Einstein Medical          Philadelphia, PA       Noon conference -
           Center Department of                                    Introduction to Children’s
           Pediatrics                                              Health & the Environment
10-08-2010 Georgetown University            Washington, DC         Grand Rounds –
           Department of Pediatrics                                Introduction to Children’s
                                                                   Health & the Environment
10-11-2010 Children’s School Services       Washington, DC         Is Autism an
           Educational Seminar                                     Environmentally Related
                                                                   Disease
10-26-2010   Virginia Hospital Center       Arlington, VA          Grand Rounds - Questions
             Department of Pediatrics                              that Parents Ask About
                                                                   Children's Environmental
                                                                   Health
11-09-2010 Crozier Medical Center           Chester, PA            Grand Rounds –
           Department of Pediatrics                                Introduction to Children’s
                                                                   Health & the Environment
11-09-2010 Crozier Medical Center           Chester, PA            Lead Poisoning in the 21st
           Department of Pediatrics                                Century
11-18-2010 University of West Virginia      Morgantown, WV         Noon conference -
           Medical Center Department                               Endocrine Disrupting
           of Pediatrics                                           Chemicals and Human
                                                                   Health
01-18-2011   Sinai Hospital Department      Baltimore, MD          Grand Rounds –
             of Pediatrics                                         Introduction to Children’s
                                                                   Health & the Environment
05-05-2011   Children’s Hospital of the     Norfolk, VA            Grand Rounds – An
             King’s Daughters                                      Introduction to Children’s
                                                                   Health & the Environment
05-05-2011   Children’s Hospital of the     Norfolk, VA            Noon conference – The
             King’s Daughters                                      Home & Environmental
                                                                   Issues
05-09-2011   Family Medicine Residency, Altoona, PA                Asthma as and
             Altoona Regional Medical                              Environmental Disease
             Center
05-09-2011   Juniata College Community Huntington, PA              Potential Child Health


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             Presentation                                         Impacts of Natural Gas
                                                                  Extraction with Hydraulic
                                                                  Fracturing
05-10-2011   Family Medicine Residency     Johnstown, PA          An Introduction to
             Program at Conemaugh                                 Children’s Health & the
             Medical Center                                       Environment
05-18-2011   Harbor Hospital               Baltimore, MD          Annual Department of
                                                                  Pediatrics CME meeting -
                                                                  The Home & Environmental
                                                                  Issues
05-20-2011   CAMC-Women’s &                Charleston, WV         Grand Rounds – Frequently
             Children’s Hospital                                  Asked Questions about
                                                                  Children’s Health & the
                                                                  Environment
05-20-2011   CAMC-Women’s &                Charleston, WV         An Introduction to
             Children’s Hospital                                  Children’s Health & the
                                                                  Environment
05-24-2011   Franklin Square Hospital      Baltimore, MD          An Introduction to
                                                                  Children’s Health & the
                                                                  Environment
06-01-2011   Family & Community            Hershey, PA            An Introduction to
             Medicine Residency                                   Children’s Health & the
             Program                                              Environment
06-01-2011   Family & Community            Hershey, PA            Job Related Environmental
             Medicine Residency                                   Exposures in Adolescents
             Program
07-20-2011   Family Medicine Residency,    Washington, DC         Introduction to Children’s
             Howard University Hospital                           Health & the Environment
08-10-2011   WV Asthma Coalition           Charleston, WV         Asthma from an
                                                                  Environmental Perspective
                                                                  (Keynote address + breakout
                                                                  sessions)
09-15-2011   Shenandoah National Park      Via Skype              The Impact of Climate
             Climate Friendly Parks                               Change on Children’s
             Workshop                                             Health
09-21-2011   WV Public Health Assoc        Morgantown, WV         Keynote Address: The
             Annual Mtg                                           Potential Health Impacts of
                                                                  Natural Gas Extraction and
                                                                  Hydraulic Fracturing
09-23-2011   Delaware Nurses               Newark, DC             An Introduction to
             Association Environmental                            Children’s Health & the
             Health Conference                                    Environment
11-07-2011   Pennsylvania State-Wide       Via webinar            Environmental Aspects of
             Asthma Partnership Fall                              Asthma Management
             Mtg


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11-22-2011   Pennsylvania Chapter,        Via webinar            The Potential Health
             American Academy of                                 Impacts of Natural Gas
             Pediatrics                                          Extraction and Hydraulic
                                                                 Fracturing
12-05-2011   Montgomery County-Prince     Bethesda, MD           Responding to Parents
             Georges County Pediatric                            Questions about
             Society                                             Environmental Health Issues
01-05-2012   Georgetown University        Washington, DC         Grand Rounds – Lead
             Department of Family                                Poisoning in the 21st
             Medicine                                            Century
01-11-2012   Children’s National          Washington, DC         Healthy Homes
             Outpatient Center @ Good
             Hope Rd
01-17-2012   Lancaster General Hospital   Lancaster, PA          Grand Rounds – An
             Department of Family                                Introduction to Children’s
             Medicine                                            Health & the Environment
01-17-2012   Lancaster General Hospital   Lancaster, PA          Noon Conference –
             Department of Family                                Potential Health Impacts of
             Medicine                                            Natural Gas Extraction
01-17-2012   Philadelphia Chapter,        Philadelphia, PA       Potential Health Impacts of
             Physicians for Social                               Natural Gas Extraction
             Responsibility
01-18-2012   Abington, Memorial           Abington, PA           Hospital Wide Grand
             Hospital                                            Rounds – Potential Health
                                                                 Impacts of Natural Gas
                                                                 Extraction
01-25-2012   Wyoming Valley               Kingston, PA           Lead Poisoning in the 21st
             Osteopathic Family                                  Century
             Medicine Residency
             Program
01-25-2012   Wilkes-Barre General         Wilkes-Barre, PA       Hospital Wide Grand
             Hospital                                            Rounds – Potential Health
                                                                 Impacts of Natural Gas
                                                                 Extraction
02-09-2012   Department of Pediatrics     Charleston, WV         Noon Conference –
             WVU Charleston Division                             Environmental Aspects of
                                                                 Asthma Management
02-10-2012   Department of Pediatrics     Huntington WV          Grand Rounds –
             Marshall University School                          Environmental Aspects of
             of Medicine                                         Asthma Management
02-10-2012   Department of Pediatrics     Huntington WV          Noon Conference –
             Marshall University School                          Potential Health Impacts of
             of Medicine                                         Natural Gas Extraction
03-10-2012   MACCHE-EJ Project            Washington, DC         Lead Poisoning
             Community Forum


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05-07-2012   Altoona Family Practice       Altoona, PA            Noon Conference –
             Residency Program                                    Environmental Aspects of
                                                                  Asthma Management
06-05-2012   Delaware Department of        Newark, DE             Emerging Environmental
             Health Healthy Homes                                 Threats to Children
             Conference
06-26-2012   Network for Public Health     Baltimore, MD          Potential Health Impacts of
             Law Eastern Regional                                 Natural Gas Extraction
             Symposium
07-17-2012   Meeting at National Center    Washington, DC         Lead poisoning
             for Healthy Homes (BLL
             Guidance discussion)
09-06-2012   Briefing for D.C. City        Washington, D.C.       Environmental Justice
             Council, Health Homes
             Issues (EJ Project)
09-12-2012   McKeesport Family Practice    McKeesport, PA         Introduction to Children’s
             Program                                              Health & the Environment
09-21-2012   10th Annual MACCHE            Baltimore, MD          Climate Change &
             Meeting                                              Children’s Health
09-28-2012   West Virginia Worksite        Daniels, WV            Healthy Homes
             Wellness Conference
10-04-2012   Maryland Environmental        Baltimore, MD          Potential Health Impacts of
             Health Network                                       Unconventional Natural Gas
                                                                  Extraction
             Department of Pediatrics,     Hershey, PA            Potential Health Impacts of
11-13-2012   Hershey Medical Center                               Unconventional Natural Gas
                                                                  Extraction
11-13-2012   Department of Pediatrics,     Hershey, PA            Frequently Asked Questions
             Hershey Medical Center                               in Children’s Environmental
                                                                  Health
02-16-2013   Pennsylvania Chapter of the   Webinar                AAP Policy Statement on
             AAP                                                  Pesticides
02-27-2013   Resident Case Conference      Washington, DC         Healthy Housing
             Children’s National Medical
             Center
02-21-2013   Leadership of Greater         Washington, DC         Introduction to Children’s
             Washington                                           Health & the Environment
03-07-2013   Children’s National Health    Greater Washington,    Environmental Management
             Network Asthma QI Group       DC area                of Asthma
04-16-2013   Grand Rounds Lancaster        Lancaster, PA          Lead Poisoning in the 21st
             General Hospital                                     Century
04-16-2013   Department of Family          Lancaster, PA          Climate Change and
             Medicine, Lancaster                                  Children’s Health
             General Hospital
05-01-2013   Department of Pediatrics      York, PA               Potential Health Impacts of


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             York Hospital                                         Unconventional Natural Gas
                                                                   Extraction
05-01-2013   Mid-Atlantic Public Health     Washington, DC         Environmental Management
             Training Consortium                                   of Asthma
05-11-2013   Delaware Nurses’               Newark, DC             Environmental Management
             Association                                           of Asthma
05-11-2013   Delaware Nurses’               Newark, DC             An Introduction to
             Association                                           Children’s Health & the
                                                                   Environment & PEHSUs
05-29-2013   Mid-Atlantic Public Health     Washington, DC         An Introduction to
             Training Consortium                                   Children’s Health & the
                                                                   Environment
06-02-2013   Children’s National Health     Rockville, MD          Lead Poisoning in the 21st
             Network Annual Meeting                                Century
06-11-2012   Community Asthma               Philadelphia, PA       Climate Change & Asthma
             Prevention Program
06-12-2013   Department of Pediatrics       Alexandria, VA         Environmental Management
             Alexandria Hospital                                   of Asthma
06-25-2013   Children’s National            Washington, DC         Environmental Health Issues
             Teacher’s Summer Institute                            in Schools
08-05-2013   Chestnut Hill Hospital         Philadelphia, PA       Environmental Health and
             Family Practice                (via webinar)          the Home
08-19-2013   Bayada School Nurse            Philadelphia, PA       Environmental Health Issues
             Development Day                                       in Schools
10-03-2013   Department of Pediatrics,      Fairfax, VA            Asthma & the Home
             INOVA Fairfax Hospital                                Environment
10-10-2013   Maryland Nurses’               Annapolis, MD          Lead Poisoning in the 21st
             Association Annual                                    Century
             Conference
01-10-2014   Garrett County Memorial        Garrett County, MD     Potential Health Impacts of
             Hospital                                              Unconventional Natural Gas
                                                                   Extraction
03-07-2014   Pennsylvania Chapter,          Hershey, PA            Potential Health Impacts of
             American Academy of                                   Unconventional Natural Gas
             Family Practice                                       Extraction
03-07-2014   Pennsylvania Chapter,          Hershey, PA            An Introduction to
             American Academy of                                   Children’s Health & the
             Family Practice                                       Environment

03-12-2014   Delaware Department of         Newark, DE             Healthy Housing
             Health Healthy Homes
             Conference
03-14-2014   Department of Humanities,      Hershey, PA            Potential Health Impacts of
             Pennsylvania State                                    Unconventional Natural Gas
             University School of                                  Extraction


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             Medicine
05-09-2014   West Virginia Chapter,        Roanoke, WV          An Introduction to
             American Academy of                                Children’s Health & the
             Pediatrics                                         Environment
05-17-2014   Alleghany General Hospital    Pittsburgh, PA       Environmental Aspects of
                                                                Asthma Management
05-29-2014   Hospitalist Division,       Washington, DC         Inpatient Management of the
             Children’s National                                Lead Poisoned Child
07-10-2014   Altoona (PA) Family         Altoona, PA            Housing Environment and
             Medicine Residency                                 Impact on Children’s Health
             Program
02-19-2015   Children’s National Primary Washington, DC         An Introduction to
             Care Residents                                     Children’s Health & the
                                                                Environment
04-02-2015   Children’s National Primary Washington, DC         An Introduction to
             Care Residents                                     Children’s Health & the
                                                                Environment
10-12-2015   American University School Washington, DC          An Introduction to
             of Public Affairs                                  Children’s Health & the
                                                                Environment
11-03-2015   Maryland State Medical      Baltimore, MD          Pesticides and Human
             Society Board Mtg                                  Health
11-18-2015   Children’s National Primary Washington, DC         An Introduction to
             Care Residents                                     Children’s Health & the
                                                                Environment
02-03-2016   Children’s National Primary Washington, DC         An Introduction to
             Care Residents                                     Children’s Health & the
                                                                Environment
04-18-2016   Break the Cycle Meeting       Atlanta, GA          Environmental Justice in
                                                                Practice
07-23-2016   AAP District Mtg              Annapolis, MD        PEHSUs & AAP Climate
                                                                Change Initiative
08-05-2016   Alexandria Hospital Dept of   Alexandria, VA       Lead Poisoning in the 21st
             Pediatrics                                         Century
08-07-2016   AAP District Mtg              Chattanooga, TN      PEHSUs & AAP Climate
                                                                Change Initiative
08-14-2016   AAP District Mtg              San Diego, CA        PEHSUs & AAP Climate
                                                                Change Initiative
10-10-2016   Children’s National Primary Washington, DC         An Introduction to
             Care Residents                                     Children’s Health & the
                                                                Environment
12-05-2016   American University School Washington, DC          An Introduction to
             of Public Affairs                                  Children’s Health & the
                                                                Environment
02-02-2017   Children’s National Primary Washington, DC         An Introduction to


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             Care Residents                                       Children’s Health & the
                                                                  Environment
10-02-2017   Children’s National Primary Washington, DC           An Introduction to
             Care Residents                                       Children’s Health & the
                                                                  Environment
10-09-2016   American University School Washington, DC            An Introduction to
             of Public Affairs                                    Children’s Health & the
                                                                  Environment

      b) National

   Date            Organization                Location              Title of Presentation
06-11-2003   National Environmental        Washington, DC         What is a Pediatric
             Education and Training                               Environmental Health
             Foundation National                                  Specialty Unit?
             Forum
04-19-2004   National Minority Health      Washington, DC         Lead Poisoning in the 21st
             Leadership Summit                                    Century
06-23-2004   Indoor Environmental          Orlando, FL            An Introduction to
             Health & Technology                                  Children’s Health & the
             Conference                                           Environment
09-21-2005   National Children’s Study     Rockville, MD          Clinical Benefits of the
             Federal Advisory                                     National Children’s Study
             Committee
10-07-2005   12th Annual NY                Westchester, NY        An Introduction to
             Conference on Lead                                   Children’s Health & the
             Poisoning                                            Environment
03-30-2006   Environmental Health &        Orlando, FL            Asthma as an
             Technologies Conference                              Environmental Health
                                                                  Problem
09-15-2010   CDC/AAMC Meeting              Cleveland, OH          Part of panel: Chronic
             Patients and Populations:                            Curricular Challenges:
             Public Health in Medical                             Environmental Health,
                                                                  Occupational Medicine,
                                                                  Global Health & Health
                                                                  Policy
10-15-2010   Ecological Society of         Washington, DC         Part of Panel: Expanding
             America/National                                     Funding, Strengthening
             Education Association                                Public Policy
             Ecology & Education
             Summit
10-18-2010   Pediatric Environmental       Washington, DC         The National Commission
             Health Specialty Units                               on Children & Disasters
             Annual Meeting
10-19-2010   Joint Pediatric               Washington, DC         The Role of Pediatric


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             Environmental Health                                  Environmental Health
             Specialty Unit –                                      Specialty Units
             Environmental Health
             Research Center Meeting
11-17-2010   University of West             Morgantown, WV         Public Health Grand Rounds
             Virginia Medical Center                               (National Webcast) - An
             Department of                                         Introduction to Children’s
             Occupational &                                        Health & the Environment
             Environmental Medicine
11-18-2010   Healthy Schools Network        National webinar       Who's In-Charge of
                                                                   Environmental Health Issues
                                                                   in Schools
05-10-2011   American Association for       Webinar                Who’s In charge (of
             Intellectual &                                        Children’s Health & the
             Developmental Disabilities                            Environment in Schools)?
06-09-2011   Uniformed Services             Bethesda, MD           An Introduction to
             University of the Health                              Children’s Health & the
             Sciences (USUHS), 25th                                Environment
             Annual Pediatric/Pediatric
             Surgery Symposium
06-30-2011   National Association of        Washington, DC         Pediatric Environmental
             School Nurses Annual                                  Health Specialty Units – A
             Meeting                                               Resource for the School
                                                                   Nurse
09-24-2011   Union of Concerned             Washington, DC         The Impact of Climate
             Scientists National                                   Change on Children’s
             Advisory Board Meeting                                Health
11-01-2011   American Public Health         Washington, DC         Session 33302 "How is the
             Association Annual                                    natural gas industry
             Meeting                                               affecting communities in the
                                                                   Marcellus Session 4379.0
12-01-2011   National Library of            Bethesda, MD           Presentation to the Special
             Medicine                                              Information Services Group
                                                                   on Pediatric Environmental
                                                                   Health Specialty Units
01-09-2012   Physicians, Scientists and     Arlington, VA          Opening Plenary
             Engineers for Healthy                                 Presentation – Why Are We
             Energy                                                Here?
01-09-2012   Physicians, Scientists and     Arlington, VA          Designing a Data Collection
             Engineers for Healthy                                 Instrument
             Energy
05-02-12     ATSDR-GW meeting on            Washington, DC         Potential Health Impacts of
             Unconventional Gas                                    Unconventional Gas
             Extraction                                            Extraction
06-19-2012   National Council of            National Webinar       Introduction to Children’s


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             Churches                                             Health & the Environment
08-06-2012   National Council of State     Chicago, Ill           Introduction to Children’s
             Legislators                                          Health & the Environment
12-05-2012   National Journal              Washington, DC         Legacy of the Clean Air Act
12-07-2021   Physicians, Scientists &      Video recording for    Potential Health Impacts of
             Engineers for Healthy         posting on PSE         Unconventional Gas
             Energy                        website                Extraction
12-08-2012   Annual national meeting of    Reston, VA             Potential Health Impacts of
             Pediatric Environmental                              Unconventional Gas
             Health Fellows                                       Extraction
01-08-2013   Annual meeting – Healthy      Washington, DC         No One is in Charge of
             Schools Network                                      Children’s Environmental
                                                                  Health in Schools

01-24-2013   11th Annual Ginandes’         New York, NY           Potential Health Impacts of
             Lecture. Department of                               Unconventional Gas
             Pediatrics, Mt Sinai                                 Extraction
             Medical Center
02-13-2013   Grand Rounds, Department      Stony Brook, NY        Lead Poisoning in the 21st
             of Pediatrics, Stony Brook                           Century
             University
02-13-2013   Primary Care Faculty          Stony Brook, NY        The Home & Environmental
             Group, Department of                                 Health
             Pediatrics, Stony Brook
             University
02-13-2013   4th year medical student      Stony Brook, NY        Advocacy & Children’s
             rounds, Department of                                Environmental Health
             Pediatrics, Stony Brook
             University
09-12-2013   Pennsylvania Public Health    Webinar                Environmental Management
             Training Center                                      of Asthma
09-17-2013   Noon Conference,              Valhalla, NY           Advocacy in Pediatrics
             Department of Pediatrics
             Maria Fareri Children's
             Hospital
09-18-2013   Grand Rounds, Department      Valhalla, NY           Climate Change
             of Pediatrics Maria Fareri
             Children's Hospital
10-27-2013   AAP National Conference       Orlando, FL            Potential Health Impacts of
                                                                  Unconventional Gas
                                                                  Extraction
10-29-2013   EPA Protecting Children’s     Washington, DC         Chemical Management
             Health for a Lifetime:                               Policy: Into the Black Hole?
             Environmental Health
             Research Needs Clinical


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             Practice and Public Policy
             Meeting
11-05-2013   American Public Health         Boston, MA              Healthy learning places for
             Annual Meeting                                         children: Achieving justice
                                                                    and equity
12-04-2013   American Lung                  Webinar                 Air Pollution & Children’s
             Association                                            Health
04-28-2014   Center for Environmental       Webinar                 Introduction to Children’s
             Health                                                 Health and the Environment
                                                                    and Potential Health Impacts
                                                                    of Unconventional Gas
                                                                    Extraction
05-07-2014   Physicians for Social          Webinar                 Potential Health Impacts of
             Responsibility                                         Unconventional Gas
                                                                    Extraction
05-08-2014   National Nursing Centers       Webinar                 The Home and Human
             Consortium                                             Health
06-25-2014   NRDC, Harvard &                Webinar                 Air & Water Monitoring of
             MACCHE                                                 Unconventional Natural Gas
                                                                    Extraction Sites
06-26-2014   NRDC, Harvard &                Webinar                 Air & Water Monitoring of
             MACCHE                                                 Unconventional Natural Gas
                                                                    Extraction Sites
11-10-2015   Health Schools Network         Washington, DC          Children’s Environmental
                                                                    Health in Schools
05-16-2016   Congressional Staff            Rayburn House           Clean Drinking Water &
             Briefing                       Office Building,        Human Health
                                            Washington, DC
06-07-2016   Health Schools Network         Washington, DC          Children’s Environmental
                                                                    Health in Schools
06-09-2016   EPA Tribal Science             Washington, DC          PEHSUs and Native
             Meeting                                                American Health
06-22-2016   PEHSU Annual Meeting           Chicago, Il             Status of the PEHSU
                                                                    System
09-13-2016   Healthy Schools Network        Webinar                 Lead in Water
10-26-2016   AAP                            Elk Grove Village,      Climate Change Symposium
                                            IL
01-16-2017   Institute on Medicine as a     New York, NY            Climate Change &
             Profession, Columbia                                   Advocacy
             University
04-23-2017   AAP Legislative                Washington, DC          Climate Change &
             Conference                                             Advocacy
10-04-2017   John Rosen Memorial            Bronx, NY               Climate Change &
             Lecture, Montefiore                                    Advocacy
             Medical Center, Albert


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             Einstein College of
             Medicine


      c) International

   Date            Organization                    Location            Title of Presentation
10-13-2004   Department of Pediatrics,       Beer Sheva, Israel     An Introduction to
             Soroka Medical Center                                  Children’s Health & the
                                                                    Environment
10-17-2004   Heschel Center for              Tel Aviv, Israel       An Introduction to
             Environmental Learning &                               Children’s Health & the
             Leadership                                             Environment
10-18-2004   Dana Children’s Hospital,       Tel Aviv, Israel       An Introduction to
             Sourasky Medical Center                                Children’s Health & the
                                                                    Environment
10-18-2004   Shatil Training Center          Haifa, Israel          An Introduction to
                                                                    Children’s Health & the
                                                                    Environment & Advocacy
10-20-2004   Department of Pediatrics,       Beer Sheva, Israel     Asthma & Air Pollution
             Soroka Medical Center
10-21-2004   Israeli Association of          Binyamina, Israel      Keynote Address, Annual
             Public Health Physicians                               Meeting - An Introduction
                                                                    to Children’s Health & the
                                                                    Environment & PEHSUs
10-22-2004   Israeli Association of          Binyamina, Israel      Panel Discussion – The Role
             Public Health Physicians                               of the Physician in
                                                                    Environmental Activism
10-26-2004   Department of Pediatrics,       Beer Sheva, Israel     Ultraviolet Light Exposure
             Soroka Medical Center
06-10-2007   International Network on        Vienna, Austria        Pediatric Environmental
             Children’s Health & the                                Health Specialty Units.
             Environment
06-12-2007   International Network on        Vienna, Austria        The Use of the Internet for
             Children’s Health & the                                Children’s Health & the
             Environment                                            Environment
05-23-2013   Gertrude’s Children’s           Nairobi, Kenya         An Introduction to
             Hospital – Paediatric                                  Children’s Health & the
             Grand Rounds                                           Environment
07-12-2013   Blizzard Institute of Barts     London, England        Should paediatricians be
             and The London School of                               advocates for children's
             Medicine & Dentistry                                   environmental health?
11-20-2013   International Network on        Jerusalem, Israel      Pediatric Environmental
             Children’s Health & the                                Health Specialty
             Environment                                            Units – A Global Model?


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11-21-2013    International Network on     Jerusalem, Israel       Global Climate Change
              Children’s Health & the
              Environment

12) Service to Community (P – paid; UP – unpaid; R – regional; N – national; I – international)

1977 to 1978 Consulting Pediatrician - Martin Luther King, Jr. Elementary School, Baltimore,
               Maryland (UR)
1978 - Present Occasional reviewer: Pediatrics, JAMA, Archives of Pediatrics & Adolescent
               Medicine, Academic (Ambulatory) Pediatric Association Journal, Archives of
               Environmental & Occupational Health, American Journal of Industrial Medicine,
               Environmental Health Perspectives and other journals (UN)
1980 - 1982 As chairman of the Accident Prevention Committee of the Ohio Chapter of the
               American Academy of Pediatrics, I was instrumental in having the Ohio Child
               Passenger Safety Law passed. (UR)
1981 - 1985 Member, Professional Advisory Board, National Safety Town Center, PO Box
               39312, Cleveland, Ohio 44139 (UN)
       1982 - 1985 Member, Cleveland Public Relations Committee, National Safety Town
       Center
1982 - 1985 Member, Ad hoc Committee on Child Health Services of Cuyahoga County
               Welfare Department (UR)
1982           External Grant Reviewer, The Hospital for Sick Children Foundation, Toronto,
               Ontario, Canada (UI)
1982 - 1985 Member, Professional Advisory Board, Cleveland Childbirth Education
               Association (UR)
1985           National Institutes of Health, National Institute of Child Health and Human
               Development, Grant Reviewer for Human Development, Grant Reviewer for
               Human Development and Aging - 3 (AHR-51) Study Section - Injury Prevention
               Grants, 12/2 - 4/1985 (UN)
1986           National Institutes of Health, National Institute of Child Health and Human
               Development, Observer at Workshop on Behavioral Research Toward Prevention
               of Childhood Injuries, September 10 - 12, 1986. (UN)
1987 - 1990 Department of Pediatrics, Georgetown University School of Medicine. Teaching
               (medical students and residents) and patient care in hospital-based pediatric
               practice. One-half day per week. (UR)
1989           National Institutes of Health, National Institute of Child Health and Human
               Development, Conference on Methodology: Standard Definitions for Childhood
               Injury Research. March 20 - 21, 1989. Group leader. (UN)
1990           Maternal and Child Health Bureau, Call to Action: Better Nutrition for Mothers,
               Children and Families. Washington, DC December 6 - 8, 1990. Representative of
               the American Academy of Pediatrics. (UN)
1991-1994      Washington Lawyers' Committee for Civil Rights Under Law, Advisory
               Committee on Childhood Lead Poisoning. (UR)
1992-1994      Health Advisory Committee, Congressman James Moran (D-8, Virginia), US
               House of Representatives. (UR)


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1992         American Academy of Pediatrics, Ad Hoc task force to review the oncogenic
             potential of Vitamin K (UR)
1994-1997    Advisor to Health Pages. A consumer oriented health publication produced in
             several cities in the US. (UN)
1995         Steering Committee, Washington, DC Lead Summit, National Lead Information
             Center, Environmental Health Center, National Safety Council. (UR)
1995-2000    Advisor, George Washington University Student Chapter of Physicians for Social
             Responsibility (UR)
1997-1999    DC Coalition for Environmental Justice/DC Department of Human Services Lead
             Poisoning Prevention Bureau Speakers Bureau - instructor and volunteer (UR)
1998-1999    Steering Committee for the Environmental Wellness Initiative, National
             Environmental Education Foundation. (UN)
1998         Member, Benefits Working Group, National Drinking Water Advisory Council
             (NDWAC). US Environmental Protection Agency. (UN)
1999-present Member, Washington, D.C. Statewide Lead Screening Advisory Committee (UR)
2000         Liaison representative from the National Center on Environmental Health,
             CDC/USDHHS to Committee on Environmental Health, American Academy of
             Pediatrics (UN)
2002-2007    Member, Board of Directors, Washington, DC Lactation Center. (UR)
2007-2013    Member, Children’s Health Protection Advisory Committee, US Environmental
             Protection Agency (UN)
       2009-2012 Chair of Task Group for America’s Children & the Environment (ACE) report
2007-2015    Member, Executive Committee of the Council on Environmental Health of the
             American Academy of Pediatrics (UN)
       2009-2015 Chair of Executive Committee
2009-2012    Member, Environmental Health Working Group, City of Alexandria, VA (UR)
2009-2010    Member, Education and Communication Work Group, National Conversation on
             Public Health & Chemical Exposures, CDC/ATSDR (UN)
2010-2011    Member, Pediatric Medical Care Subcommittee, National Commission on
             Children & Disasters (UN)
2010-2011    Member, Metropolitan Washington Council of Governments Advisor Panel on
             Climate Change Adaptation (UR)
2011-2016    Editor, Journal of Health & Pollution (UI)
2012-2013    Member, Steering Committee, International Network on Children’s
             Environmental Health meeting, Jerusalem, Israel




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   EXHIBIT C: STATEMENT OF PREVIOUS TESTIMONY WITHIN PRECEDING
         FOUR YEARS AS AN EXPERT AT TRIAL OR BY DEPOSITION

                             JEROME A. PAULSON, MD, FAAP

Based on my records, I provide this list of expert testimony given in the past four years:

2018

Kenneth Jefferson, Jr., et al. v. Mary Kaufman, et al., Case No.: 16SL-CC00879 (Circuit County
of St. Louis County, 21st Judicial Circuit).

William Slaughter, et al. v. Jerald S. Friedman, et al., Case No.: 2011 CA 006976 B

2017

Turhan Brown v. Calomiris Group Ltd Partnership, Case No.: 2015 CA 009254 B (Superior
Court of the District of Columbia).

2016

Delaware Riverkeeper Network, Clean Air Council, et al., v. Commonwealth of Pennsylvania,
Department of Environmental Protection, and R.E. Gas Development, LLC., EHB Docket No.:
2014-142-B (Pennsylvania Environmental Hearing Board).

2015

Sarah Keener & Robert Green v. C. Jack Pearce, et al., Case No.: 24-C-14-001705 (Circuit
Court for Baltimore City, 2016)
Mekayla Caruthers, et al. v. Gerald Orr, Case Number: 1622-CC09555

2014

Gregory Ash, Jr v. Albert A Sturdivant, et al., Case No. 24-C-12-004598 (Circuit Court for
Baltimore City, 2014)




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      across western US forests. Proceedings of the National Academy of Sciences, 113(42),
      11770-11775.
Ahdoot, S., & Pacheco, S. E. (2015). Global climate change and children’s health. Pediatrics,
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Basagaña, X., Sartini, C., Barrera-Gómez, J., Dadvand, P., Cunillera, J., Ostro, B., Sunyer, J., &
      Medina-Ramón, M. (2011). Heat waves and cause-specific mortality at all ages.
      Epidemiology, 22(6), 765-772.
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       Mandamus. (2017). In United States of America et al. v. United States District Court for
       the District of Oregon and Juliana et al., Case No. 17-71692, Dkt Entry 14-5.
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       (2016). In Juliana et al. v. United States et al., Case No. 6:15-cv-01517-TC, Document
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